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                               EXHIBIT 1
  Case 5:21-cv-00007-TTC-JCH Document 1-1 Filed 01/29/21 Page 2 of 92 Pageid#: 6



                              COMMONWEALTH OF VIRGINIA




                                     WINCHESTER CIRCUIT COURT
                                            Civil Division
                                       5 NORTH KENT STREET
                                          WINCHESTER VA
                                           (540)667-5770

                                                Summons


        To: SOLACIUM HOLDINGS,LLC                                           Case No. 840CL20000748-00
            CT CORPORATION SYSTEM
            4701 COX RD., STE. 285
            GLEN ALLEN VA 23060-6808



        The party upon whom this summons and the attached complaint are served is hereby notified
        that unless within 21 days after such service, response is made by filing in the clerk's office
        of this court a pleading in writing, in proper legal form, the allegations and charges may be
        taken as admitted and the court may enter an order,judgment, or decree against such party
        either by default or after hearing evidence.
        Appearance in person is not required by this summons.

        Done in the name of the Commonwealth of Virginia on,Friday, December 18, 2020

        Clerk of Court: WILLIAM D GARDNER

                                by
                                                       W148111VpgRIYIN,0-

   Instructions:    PLEASE SERVE COMPLAINT



Hearing Official:




                    BAUGHER, ANDREW S
Attorney's name:
                    90 NORTH MAIN STREET
                    SUITE 20
                    HARRISONBURG VA 22803
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    VIRGINIA:     IN THE CIRCUIT COURT FOR THE CITY OF WINCHESTER


    NEW LIFESTYLES,INC.,

    and

    CUAVE FAMILY PROPERTIES,LLC,

    and

   PROPERTIES OF WINCHESTER,LLC,

          Plaintiffs;

    v:                                               Case No.

   CALO YOUNG ADULTS — WINCHESTER,LLC,

          Serve: CT Corporation System
                 4701 Cox go.,Ste. 285
                 Glen Allen, VA 23060-6808

   and

   SOLACIUM HOLDINGS,LLC,
   d/b/a
   EMBARK BEHAVIORAL HEALTH,

          Serve: CT Corporation System
                 4701 Cox Rd., Ste. 285
                 Glen Allen, VA 23060-6808

          Defendants;:


                                          COMPLAINT

          Plaintiffs New Lifestyles, Inc. ("New Lifestyles"), Cuave Family Properties, LLC

   ("Cuave Family Properties"), and Properties of Winchester, LLC ("Properties of Winchester"),

   by counsel, for their Complaint against Defendants Cabo Young Adults — Winchester, LLC




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   ("Cale) and Solacium Holdings, LLC d/b/a Embark Behavioral Health ("Embark"), state as

   follows:

                                       :NATURE OF...ACTION.

           1.     This action is for breach of lease and related property damage. Plaintiffs own

   certain historic properties in Winchester, Virginia, which were leased to Cabo for use as a

   residential treatment program and office space. These programs were owned, operated, or

   managed by Embark with knowledge of the lease and through its own use and possession of the

   premises.

          2.      Cabo and Embark caused significant damage to the properties. This action seeks

   redress against Cabo and Embark.

                                                 ,PARTIES,

          3.      New Lifestyles is a Virginia corporation with a principal place of business in

   Florida. Kenneth L. Cuave,PsyD ("Dr. Cuave"), is the President of New Lifestyles.

          4.      Cuave Family Properties is a Virginia limited liability company with a principal

   place of business in Winchester, Virginia. Dr. Cuave is the sole member Of Cuave Family

   Properties and he is a resident of Florida.

          5.      Properties of Winchester is a Virginia limited liability company with a principal

   place of business in Winchester, Virginia. Dr. Cuave is the sole member of Properties of

   Winchester and he is a resident of Florida.

          6.      Cabo is a Delaware limited liability company with a principal place of business in

   Tempe, Arizona. Upon information and belief, no member of Cabo is a resident of Virginia.

          7.      Solacium Holdings, LLC is a Delaware limited liability company with a principal

   place of business in Tempe, Arizona. Solacium does business under the Embark name, which is



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   registered as a fictitious name in Virginia for Solacium. Upon information and belief, no member

   of Solacium is a resident of Virginia.

                                      JURISDICTION &YENUE

          8.        This Court has subject matter jurisdiction pursuant to Va. Code § 17.1-513.

          9.        This Court has personal jurisdiction over Cabo and Embark pursuant to Va. Code

   § 8.01-328.1 because, inter alia, this cause of action arises from Cabo and Embark, acting either

   directly or through an agent, transacting business in the Commonwealth, causing tortious injury

   by an act or omission in the Commonwealth, and/or having an interest in, using, or possessing

   real property in the Commonwealth.

          10.       Venue is proper in this Court pursuant to Va. Code § 8.01-262(4) because the

   cause of action arose in Winchester, Virginia.

                                                 FACTS.

          1 1.      Properties of Winchester owns the real property and improvements located at 303

   Amherst Street, Winchester, Virginia ("303 Amherst") and 304 Amherst Street, Winchester,

    Virginia ("304 Amherst"). Properties of Winchester also owned the real property and

   improvements located at 309 Amherst Street, Winchester, Virginia ("309 Amherst") during the

   relevant time.

          12.       Cuave Family Properties owned the real property and improvements located at

   230 West Boscawen Street, Winchester, Virginia ("230 West Boscawen," and together with 303

   Amherst, 304 Amherst, and 309 Amherst, the "Premises") during the relevant time.

          13.       New Lifestyles acted as the managing agent for Properties of Winchester and

   Cuave Family Properties in leasing the Premises to Cabo.




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            14.     Cabo entered a "Standard Commercial Lease," dated November 30, 2015, with

    New Lifestyles for each property (collectively, the "Leases"), under which New Lifestyles leased

    the Premises to Cab . A true copy of each lease is attached hereto as Exhibit 1A, Exhibit 1B,

    Exhibit 1C, and Exhibit 1D, respectively.

            15.     Although Cabo did not formally sign the Leases, Cabo received the Leases,

    acknowledged and ratified the Leases, and performed under the Leases by accepting possession

    of the Premises and paying rent thereunder, and knew that the terms of the Leases governed its

    possession and use ofthe Premises.

            16.     Properties of Winchester is a party to the leases for 303 Amherst, 304 Amherst,

    and 309 Amherst as their "Owner" and is a third-party beneficiary ofthose leases.

            17.     Cuave Family Properties is a party to the lease for 230 West Boscawen as its

    "Owner" and is a third-party beneficiary of that lease.

            18.     Cabo used the Properties for a residential treatment program and office space. The

    program was designed for young adults with mild to moderate mental health issues.

            19.     Embark owned, acquired, or operated the "Cabo Programs," which are various

    residential treatment facilities.

            20.     The services provided by Cabo and its use of the Premises were part, and in

    furtherance, ofthe "Cabo Programs" owned and operated by Embark.

            21.     Embark owned, acquired, had an interest in, or operated a similar program called

    "Fulshear Treatment to Transition."

            22.     Embark partnered with Cabo to operate "Fulshear Treatment to Transition East" at

    the Premises, and Cabo became known as "Fulshear Treatment to Transition East" and programs

    operated at the Premises were operated under this name for Embark's benefit.



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             23.     Cab , began communicating with New Lifestyles and holding itself out as

    "Fulshear Treatment to Transition East."

            24.      During the relevant time, Alex Stavros was President, CEO, and Chairman of

    Cab ,and he was also the CEO of Embark.

            25.      Upon information and belief, Cabo and Embark have common ownership,

    management, or employees, work together out of the same principal place of business and office

    in Arizona, and Embark paid, managed, and directed the employees responsible for the programs

    conducted at the Premises.

            26.      Mr. Stavros, on behalf of Embark and Cab , communicated with New Lifestyles

    about the Leases and their use of the Premises, and Embark made payments to New Lifestyles

    under the Leases and took other actions that demonstrated that Embark. was assuming the

    obligations under the Leases or acting as agent for Cabo in performing under the Leases and

    using the Premises to provide services for the benefit of Cabo and Embark.

            27.      The initial term of the Leases ended December 31, 2018, and then automatically

    renewed for one-year terms thereafter. The Leases for 303 Amherst and 309 Amherst were

    terminated December 31, 2019, and the Leases for 304 Amherst and 230 Boscawen were

    terminated February 10, 2020, by agreement.

            28.      The Leases contained the following terms and obligations:1

                        • Section 1. The Premises include furniture and equipment and that is
                          being included in the lease hereunder. Such furniture and equipment
                          shall remain the property of the Landlord. Tenant shall maintain such
                          furniture and equipment in good condition and replace the same if
                          broken.

                         Section 2. Tenant shall not commit or allow any waste, nuisance, or other
                         such act or omission to occur on the Premises, and shall not do any act or


    'Relevant provisions in bold.

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                      allow on the Premises any condition which may disturb the quiet enjoyment of
                      other tenants ofthe Building or those occupying surrounding properties.

                      Section 5. Tenant has inspected and knows the condition of the Premises, and
                      accepts the same in their present condition.

                      Section 9.4. Tenant shall promptly pay all bills for labor done or material
                      or equipment supplied for any construction or repair work done on the
                      Premises.

                      Section 10. Tenant shall have the obligation of maintaining the roof,
                      downspouts, exterior walls and foundation of that portion of the Building
                      constituting the Premises.... Tenant shall be responsible for all window
                      glass replacement.... Tenant shall be responsible for all cleaning and
                      janitorial services within the Premises, and Landlord shall have no
                      responsibility therefor.... Landlord shall have no responsibility for any
                      repairs/improvements unless such damage is caused by Landlord.

                      Section 11.1. At its sole expense, Tenant may ... make improvements,
                      alterations or additions to the Premises.... Tenant agrees to obtain all
                      necessary consents, licenses, approvals, and authorizations of any such
                      governmental authorities or utility providers prior to undertaking any such
                      work.

                      _Section 11.2. Tenant shall promptly pay all bills and expenses resulting from
                       any such improvements, alterations or additions. Tenant shall defend and
                       indemnify Landlord and its managers and agents from and against any and
                       all claims, losses, costs, expenses, and liabilities arising as a result of or in
                       connection with any work done on or related to the Premises....

                      Section 20.1. Tenant will be in default under this Lease upon the happening
                      of any one or more of the following events: .... (a) Failure of Tenant ... to
                      fully perform any obligation contained in this Lease.

                      Section 23.1. At the termination of this Lease, Tenant agrees to deliver to
                      Landlord the Premises and all mechanical systems and all equipment and
                      fixtures thereon in good working order and condition.

           29.     Cabo and Embark breached these obligations and terms, including by not

    maintaining equipment in good condition; allowing waste to occur on the Premises; failing to

    promptly pay for labor and material required to repair the damages; failing to maintain the roof,

    downspouts, exterior walls and foundation; failing to pay for necessary cleaning services; failing


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    to obtain necessary permits and approvals before making alterations; and not delivering the

    Premises in good working order and condition at the termination ofthe Leases.

           30.     Cabo and Embark allowed dogs to urinate inside the buildings at 230 West

    Boscawen and 304 Amherst and did not clean up the urine properly. The urine soaked through

    the carpets of 230 West Boscawen and damaged the floors, and urine also damaged the floors at

    304 Amherst. These properties reeked of urine and also contained fleas upon termination of the

    Leases.

           31.     Cabo and Embark did not properly maintain the roof and gutters of 230 West

    Boscawen, which caused significant water intrusion and major structural damage to the building.

    Cabo and Embark allowed the gutters to fill with dirt and debris so they were no longer

                                                          Olit the ioof The resulting Wdtdt •cfairiag

    caused growth of black mold, rot, and deterioration ofthe structure.

           32.     Cabo and Embark did not keep the gutters at 303 Amherst clean and free of debris,

    which caused overflow during rain events.and significant water intrusion and damage to the

    building.

           33.     Cabo and Embark did not properly maintain the roof and gutters at 304 Amherst,

    which caused significant water intrusion and damage to the building, including major structural

    damage. The gutters were filled with debris and clogged and no longer drained properly, and the

    roof was damaged. The fascia rotted in numerous areas; lattice around the porch was damaged;

    storm windows were broken or missing glass; the exterior wood siding deteriorated; the soffit

    was damaged; the entry porch deteriorated and at least one of the columns failed; the porch stairs

    rotted; and two skylights had active leaks.




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             34.     Cabo and Embark installed a parking lot at 304 Amherst without obtaining permits

     or approvals. The City of Winchester required Properties of Winchester to remove the parking

     lot at its expense.

            35.      In addition, the interior of each building needed to be repainted; Cabo and/or

    Embark removed and took lawnmowers, trimmers, snowblowers and other equipment from the

    Premises without permission; and Cuave Family Properties and Properties of Winchester had

    stored boxes in the attic, which Cabo and/or Embark went through and removed certain items,

     including pictures and other belongings without permission.

            36.     230 Boscawen sustained property damage as a result of Cabo and Embark's acts

     and omissions, in the amount of $44,287.67, and New Lifestyles paid $4,376.67 to remedy part

     Of this ijainag,c before 2130'Boscawen was s914.:Th .
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    result of the damage, and Cuave Family Properties subsequently sold 230 Boscawen in "as is"

    condition on October 13, 2020. The sale price was approximately $85,500 less than it would

     have been had Embark and Cabo not damaged the property, and New Lifestyles also lost rent in

     the approximate amount of $5,000 per month between the termination ofthe Lease and the sale.

            37.     303 Amherst sustained property damage as a result of Cabo and Embark's acts and

     omissions, in the amount of $18,199.00. The property is unable to be rented until the repairs are

     complete.

            38.     304 Amherst sustained property damage as a result of Cabo and Embark's acts and

     omissions in the amount of $23,448.61. The property is unable to be rented until the repairs are

     complete.

            39.      309 Amherst sustained property damage as a result of Cabo and Embark's acts and

     omissions in the amount of $10,816.20, and New Lifestyles paid $6,867.20 to repair part of the



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     damage before 309 Amherst was sold. The property could not be rented for a period, and

     Properties of Winchester subsequently sold 309 Amherst in "as is" condition on November 23,

     2020. The sale price was approximately $25,000 less than it would have been had Embark and

     Cabo not damaged the property, and New Lifestyles also lost rent in the approximate amount of

     $2,500 per month between the termination ofthe Lease and the sale.

                          Count I — Breach of Lease for 230 West Boscawen
                (New Lifestyles and Cuave Family Properties against Cabo and Embark)

            40.      Plaintiffs incorporate the above allegations.

            41.      Cabo leased 230 West Boscawen from Cuave Family Properties and New

     Lifestyles.

            42.      Embark assumed the lease and was in possession of the premises, and acted as an

     agent of Cabo in operating the programs at the premises and performing under the lease.

            43.      New Lifestyles fully performed under the lease.

            44.      Cabo and Embark breached the lease.

            45.      Embark authorized, directed, participated in, approved, and ratified Cab 's

     conduct.

            46.      New Lifestyles has been damaged in the amount of $4,376.67 as a result of Cabo

     and Embark's breach of the lease and for the property damage they caused, plus lost rent in the

     amount of$5,000 per month from February 10, 2020 to October 13, 2020.

            47.      Cuave Family Properties has been damaged in the approximate amount of

     $85,500 as a result of Calo and Embark's breach of the lease and for the property damage they

     caused.

            48.      Cabo and Embark are responsible for New Lifestyle's expenses, including its

     attorney's fees, in enforcing the lease per Section 20.6.
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                              Count II — Breach of Lease for 303 Amherst
                              (New Lifestyles against Cabo and Embark)

            49.     Plaintiffs incorporate the above allegations.

            50.     Cabo leased 303 Amherst from Properties of Winchester and New Lifestyles.

            51.     Embark assumed the lease and was in possession of the premises, and acted as an

     agent of, Cabo in operating the programs at the premises and performing under the lease.

            52.     New Lifestyles fully performed under the lease.

            53.     Cabo and Embark breached the lease.

            54.     Embark authorized, directed, participated in, approved, and ratified Cab 's

     conduct.

            55.     New Lifestyles has been damaged in the amount of $18,199 as a result of Cabo

     and Embark's breach of the lease and for the property damage they caused, plus lost rent of

     approximately $2,500 per month from December 31, 2019 until the property can be rented or

    sold.

            56.     Cabo and Embark are responsible for New Lifestyle's expenses, including its

     attorney's fees, in enforcing the lease per Section 20.6.

                              Count III- Breach of Lease for 304 Amherst
                              (New Lifestyles against Cabo and Embark)

            57.     Plaintiffs incorporate the above allegations.

            58.     Cabo leased 304 Amherst from New Lifestyles.

            59.     Embark assumed the lease and was in possession of the premises, and acted as an

     agent of, Cabo in operating the programs at the premises and performing under the lease.

            60.     New Lifestyles fully performed under the lease.

            61.     Cabo and Embark breached the lease.



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               62.   Embark authorized, directed, participated in, approved, and ratified Calo's

     conduct.

            63.      New Lifestyles has been damaged in the amount of $23,448.61 as a result of Cabo

     and Embark's breach of the lease and for the property damage they caused, plus lost rent of

     approximately $2,500 per month from February 10, 2020 until the property can be rented or sold.

            64.      Cabo and Embark are responsible for New Lifestyle's expenses, including its

     attorney's fees, in enforcing the lease per Section 20.6.

                             Count IV — Breach of Lease for 309 Amherst
                (New Lifestyles and Properties of Winchester against Cabo and Embark)

            65.      Plaintiffs incorporate the above allegations.

            66.      Cabo leased 304 Amherst from New Lifestyles.

            67.      Embark assumed the lease and was in possession ofthe premises, and acted as an

     agent of Cabo in operating the programs at the premises and performing under the lease.

            68.      New Lifestyles fully performed under the lease.

            69.      Cabo and Embark breached the lease.

            70.      Embark authorized, directed, participated in, approved, and ratified Cab 's

     conduct.

            71.      New Lifestyles has been damaged in the amount of $6,867.20 as a result of Cabo

     and Embark's breach of the lease and for the property damage they caused, plus lost rent in the

     approximate amount of $2,500 per month from December 31,2019 to November 13, 2020.

            72.      Properties of Winchester has been damaged in the approximate amount of

    $25,000 as a result of Cabo and Embark's breach of the lease and for the property damage they

     caused.




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            73.     Cabo and Embark are responsible for New Lifestyle's expenses, including its

     attorney's fees, in enforcing the lease per Section 20.6.

                                            Count V — Waste
                                 (All Plaintiffs against All Defendants)

            74.     Plaintiffs incorporate the above allegations.

            75.     "Any tenant of land ... who commits any waste while he is in possession of such

     land ... shall be liable for damages." Va. Code § 8.01-178.1(A). "[W]aste is defined as a

     destruction or material alteration or deterioration ofthe freehold, or of the improvements forming

     a material part thereof, by any person rightfully in possession, but who has not the fee title or the

    full estate." Chosar Corp. v. Owens, 235 Va. 660, 663 (1988). If the waste is permitted through

     wanton misconduct, as occurred here, then the damages are automatically doubled. Va. Code §

    8.01-178.2.

            76.     Cabo and Embark were tenants of or in possession of the Premises.

            77.     Cabo and Embark committed waste and substantial damages to the Premises.

            78.     The damage to 230 West Boscawen as a result of Defendants' waste is

     approximately $129,376.67.

            79.     The damage to 303 Amherst.,as a result of Defendants' waste is approximately

    $18,199.00, plus lost rent of $2,500 per month beginning December 31, 2019.

            80.     The damage to 304 Amherst as a result of Defendants' waste is approximately

    $23,448.61, plus lost rent of $2,500 per month beginning February 10, 2020.

            81.     The damage to 309 Amherst as a result of Defendants'.waste is approximately

    $56,867.20.

            82.     Cato and Embark knew of the ongoing damage occurring to the Premises and told

     New Lifestyles that maintenance was being performed, but it either was not being performed or

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     was not performed in a manner that would prevent the damage from continuing and causing

     waste.

               83.   Defendants committed the waste through wanton misconduct, and the damages

     should be doubled.

                              Count VI — Negligence / Gross Negligence
                (Cuave Family Properties and Properties of Winchester against Embark)

               84.   Plaintiffs incorporate the above allegations.

               85.   Embark had an independent duty of care toward the owners of the Premises,

     Cuave Family Properties and Properties of Winchester, to not damage the Premises.

               86.   Embark, through the negligent acts and omissions of its employees, agents, and

     servants, breached this duty by causing damage to the Premises.

               87.   Embark acted in a grossly negligent manner. It was aware of and permitted the

     significant and continuing damage to the Premises with conscious disregard of the rights of the

     owners:

               88.   Cuave Family Properties and Properties of Winchester have suffered damage as a

     result.

                                   Count VII— Conversion
        (Cuave Family Properties and Properties of Winchester against Cabo and Embark)

               89.   Plaintiffs incorporate the above allegations.

               90.   Cabo and/or Embark removed and took lawnmowers, trimmers, snowblowers and

     other equipment from the Premises without permission; and Cuave Family Properties and

     Properties of Winchester stored boxes in the attic, which Cabo and/or Embark went through and

     removed certain items, including pictures and other belongings without permission.




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               91.   Cabo and/or Embark wrongfully exercised dominion and control over these items

     and have failed to return them to their owners.

               92.   These acts were taken with conscious disregard of the rights of the owners.

               93.   Cuave Family Properties and Properties of Winchester have suffered damages as a

     result.

                                                Jury Demand

               94.   Plaintiffs demand trial by jury for all claims and issues so triable.

               WHEREFORE, Plaintiffs move for judgment against Defendants, jointly and severally,

     in the amount of $250,000, or such amount as proven at trial, plus lost rental value of $5,000 per

     month for 303 and 304 Amherst from the termination of the leases until the properties can be re-

     let or sold, together with double damages for waste under Count V, punitive damages under

     Counts VI and VII of $150,000, reasonable expenses, including attorney's fees, under Counts I —

     IV,and such additional relief the Court deems proper.

                                                            NEW LIFESTYLES,INC.,
                                                            and
                                                            CUAVE FAMILY PROPERTIES,LLC,
                                                            and
                                                            PROPERTIES OF WINCHESTER,LLC,
                                                            By Counsel


    ANDREW S. a          HER(VSB #74663)
    CHRISTOPHER R. TATE(VSB #91987)
    Flora Pettit PC
    90 North Main Street, Suite 201
    P. 0. Box 1287
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    asb@fplegal.com
    crt@fplegal.com
    Counselfor Plaintiffs



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                                           CERTIFICATE:

            I hereby certifythat on December 17, 2020,::a ttue:cdpy ofthe.foregoing Complaint was
     mailed to:

                          Cabo Young ,AdUlts — Winchester, LLC
                          c/O'CT Corporation System, Registered Agent
                          4701 Cox Rd., Ste: 285
                          Glen Allen, VA 23060-6808

                         SolaCium Holdings, LLC, d/b/a Embark Behavioral Health
                         do CT Corporation System,.ReOttete,
                                                           :Agent
                         4701 Cox Rd,Ste. 285
                         Glen Allen, VA 23060-6808


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              or olheritich'act or04iSkintO Occiir'on'tAis                       guill not do anyidor allow
                                  Any condition which may disturb iliequiet enjoyment if other teiiiits (3f,-
              the-Selldhieoi.thela'tie-441‘piiiisluxnunding prOpertlesi. [tenant shall comply              all
              laws Wits usage ofsuch"pmp&tiá'édifèhangts ale reitiliedte such properties due to
              such use:Tenant shill be responsible for the same.-                                 —     -




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                        3.    Base Rent.

                              3.1. Base Rent Amount. Tenant agrees to pay as Monthly Base Rent
               for each property in the amounts set forth above, payable in advance on the fifth day of
               each calendar month during the tenn ofthis Lease;
                              3.2. Late Payments. Any rent payments received by Landlord more
               than five(S)days late shall bear a latepayment fee of$100per property rent that is late,
               and interest from the dates they arc due until the dates they are paid, at an annual rate
               equalto two percentage points over the prime rate as announced from time to time in The
               WallStreet Jotona4 recomputed and modified on the first day ofeach and every calendar
               month. In the event the above publication is no longer published, then Landlord shall
               choose another generally accepted and widely published prime rate.
                              3.3. Annual Increases. The amount of the Base Rent shall be
               increased once each third lease year, as of the first day of the first month of the Lease
               year, by three percent(3%)over the amount thereof for the preceding three lease years,
               including renewal terms. The new Base Rent amount shall be payable beginning with the
               first month of the lease year, without the requirement of any notice from Landlord to
               Tenant
                       4.     Term.
                           4.1. Initial Lease Term. This Lease shall be for an initial term ofthree
               years and 41 days, commencing November 20, 2015, and ending at midnight on
               December 31,2012.
                              4.2. Automatic Renewal. If this Lease is in force on the expiration
               date of the Initial term, and if the Tenant on that date has fully performed all its
               obligations under this Lease, this Lease shall automatically renew for one year terms
               thereinafter. This automatic renewal option stall continue from year to year until
               terminated by written notice from Tenant to Landlord no later than thirty(30)days prior
               to the expiration ofthe then-current term. The same terms viliolt apply during the initial
               terrashall apply during theextension.
                      S.      Condition ofFlambe,. Tenant has inspected and knows thecondition of
              the Premises, and accepts the same in their present condition. By its execution ofthis
              Lease, Tenant acknowledges that Landlord has made no warranties, representations or
              statements whatsoever concerning any condition or matter relating to the Premises,
              including such matters as the income or expenses ofthe Premises, title to the Premises,
              legal status ofthe Premises, availability or cost of utilities, or physical condition of the
              Premises or any improvements thereon. Tenant further acknowledges that no agents,
              employees, brokers or other persons am authorized to make any representations or
               warranties thr Latdiord. Landlord has relied upon these acknowledgments as a material
              Inducement to enter into this USU. Tenant is hereby leasing the Premises "as is" and
              "Where is" and agrees that it relies upon no warranties, representations or statements by
              Landlord or any other persons for Landlord in entering into this Lease. Tenant
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             acknowledges that there is In and about the Premises nothing dangerous to life, tin*,
             health or property, and Tenant hereby knowingly and deliberately waives any claim for
             damages which (tinny have against Landlord that may adse from any defects its or about
             the Premisesafter the exemnion hereof.

                              Utilities. Tenant shall be responsible for any anti all utility and service
             costs ofthe Premise& including, without limitation,all chargesfor gas, water, electricity,
             sanitary sewer, telephone. cable television, Internet actess, trash nine vat and any other
             utilities or similar services Used at or in connection with the Premises,

                    7,     Tenant's Taxes, Tenant shall timely pay or cause to be paid when due all
            real estate, personal property, sales use and other taxes or assessments, general or
            special1 now or hereafter imposed by any federal, state, or local government on the
            Tenant's property located in or used in connection with the Premises or on the ownership,
            lease, sale, possession or use of the Premises, whether the same are assessed against
            Landlord or Tenant Ifany such tax is assessed against Landon!,Landlord shall provide
            Tenant with written notice of the assessment. Upon demand Tenant shall provide
            Landlord with prooforall required payments.
                    S.     Insurance.
                         8.1, Fire and Extended Coverage. Lavdlord shall obtain "all risk"
           (sometimes called "open perils"or"special perils")fire and extended coverage insurance
           on the Building, including fixtures and non-removable tenant improvements, in such
           amount as Landlord deems sufficient Tenant shall cooperate with Landlord so that the
           lowest insurance rating can be obtained, given -the use and condition of the Premises
           Accordingly,Tenant shall littly cooperate with the insurance carrierin implementing any
           measures or complying with any requirements the carder may have. All costs of such
           measures orcompliance shall be borne by Tenant Ifthe insurance rates published by the
           Insurance Service Office of the State of ate increased as the result of any activities or
           hazards Introduced by Tenant, then Tenant shall pay the incremental cost thereof
           promptly upon demand.
                          8.2. Liability, At its aolecostand expense,Tenant shall purchase =4
            mointain commercial general liability insurance on the ?remises, including a property
            damage provision, insuring against liability forinjury to persons or property occurring on
            or aboutthe PiCeMiStS or arising out ofthe ownership,maintenance, use Or occupancy or
            the Premises. The Insurance shall be in an amount not less than One lvfillion Dollars
           ($1,000,000)combined single limit per occurrence,and a general policy aggregate of not
            less than Two Million Dollars($2,000,000)ifsuch aggregate applies to this policy.
                            8.3. Policy Requirements. All policies of insurance obtained now or
            at any future time by Tenant, shall name Landlord, as well as Tenant, as an Insured, by
            meads of a separation of insureds clause, sometimes also called a "severability of
            insureds" or "cross liability" clause. The policies shall also provide that Landlord ber
            given at least thirty(30)days' notice before any cancellation or material modification of
            the policy.
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                              8.4. Certificates of Insurance. Tenant shall furnish, to Landlord
               certificatesofinsurance evidenting theinsurance coverage required by these provisions,
               and providing that Landlord shall receive thirty (30) days' notice of cancellation or
               material change in coverage, Within thirty (30) days after each premium payment date
               Tenantshall furnish Landlord with a copy ofthe premium bill and evidenceofpayment
                              8-5. Casualty Damage; ashes. In the event of casualty damage to
               the PitIlliSe4 and if Landlord is carrying the all-risk property insurance, Tenant shall
               immediately toport the damage to Landlord and Landlord shall make whatever claim
               against the Insurance company that Landlord deems advisable. Tenantshall cooperate in
               connection with the claim and shall be bound by Landlord's actions. In the event of
               either damage to the Premises by casualty or an assertion ofliability, and if Tenant is
               carrying the applicable insurance policy,Tenant shall irnrnexetely report the same to the
               applicable insunurce company and make a claim for insursnce proceeds, delivering to
               Landlord a copy of the claim. Landlord may take such action as it deems necessary
               regarding the claim, and Tenant shall reimburse Landlord for all of Landlord's costs in
               connection with Landlord's action, including without limitation any attorney's fees
               expended by Landlord. Any insurance proceeds shall be paid to Landlord and may be
               disbursed as Landlord in its sole discretion deems appropriate.
                       9.     Liens and Encumbrances.
                              9.1. Subordination. This Lease shall be and hereby is made subject
               and subordinate to any present or flitIn mortgages, deeds of trust, and other Ilene or
               eneurn.brances executed or consented to by Landlord which do not materially affect
               Tenant's use ofthe Premises. The holder ofany such lien or encumbrance may notify
               Tenant in writing ofits interest, and in such event Tenant shallsend copies ofall notices
               or communications regarding this Lease to the holder ofthe lien or encumbrance. Such
               holder shall be entitled to take any action or exercise any rights reserved to Landlord
               under this Lease.
                               9.2. No Further Encumbrance. Tenant shall not encumber or permit
               the encumbrance of Premises or this leasehold estate by any mortgage, deed of trust,
               assignment, collateral assignment, security interest, lien or other charge, if any
               eacumbrahce to which Landlord has notconsented iscreatedorflied ofrecord against the
               Premises or this leasehold estate, Tenant shall discharge or cause the discharge of the
               SAM within ten dews after its creation. Tenantshalldefead and indemnify Landlord from
               all liability, damages and expenses incurred by Landlord which result from any such
               encumbrance.
                              9.3. No Mechanic's Liens. This Lease does not require Tenant to
               Improve the Premises or construct any improvements or additions on the Premises. My
               improvements or additions to the Premises which Tenant might make or permit are for
               the sole use ofTenant and will not benefit Landlord's reversion. Tenantis not, and shall
               not be deemed to be the agent of Landlord in eontractiag or arranging for any
               improvement ofthe Premisesor any consbuetion on the Premises.

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Case 5:21-cv-00007-TTC-JCH Document 1-1 Filed 01/29/21 Page 22 of 92 Pageid#: 26




                           9A. Indemnification. Tenant Shall promptly pay all bills for labor
             done or material or (equipment supplied for any construction or repair work done on the
             Premises, Failure to promptly Pay any such bills shall be a default under this Lease.
             Temant shall defend and indemnify Landlord from all liability, damages or expense
             resultingfrom any mechanic's lien claims affecting the Premises.
                     IO. Maintenance and Repair. Tenant shall have the obligation of
             maintaining the roof, dovernspouts, exterior walls and foundation of that portion of the
             Building constituting the Premises, and Shall also repair and maintain the general
             building plumbing, heating, electrical, air conditioning and ventilation systems and
             equipment which serve the Premises,including any such systems or equipment located
             outside the Premises but which exclusively serve the Premises. Tenant shell also
             maintain in good order and repair all improvements, alterations and additions which
             Tenant may make to the Premises,including any alienations to the Building which were
             made in the installation thereof,including roof and wall penetrations, In addition and
             without limitation, Tenant shall protect water pipes, heating and. air conditioning
             alillPment Plumbing, fixtures, appliances, and sprinkler systems serving the Premises
             ikom becoming frozen or damaged by other than ordinary wear and tear. Tenant shall be
             responsible for all window glass replacement and for maintenance of light fixtures and
             lamps throughout the Premises. Tenant shall be responsible for all cleaning and janitorial
             services within the Premises, and Landlord shall have no responsibility therefor. Tenant
             shall keep the parldng lot adjacent to the Premises and all sidewalks, alleys, walkways
             and asphalted or concrete areas ofthe Land which serve the Premises clean,sightly, and
             free of snow and rubbish, and shall keep and maintain the same in good condition,
             repairing cracks and potholes and replacing the asphalt or concrete when needed.
             Landlord shall have(no responsibility for any repairs/improvements unless such damage
             is caused by Landlord.
                     11.    TenantImprovements and Alterations.
                             11.1. Tenant's Rights. At its sole expense. Tenant may, but is not
             required to, make improvements, alterations or additions to the Premises, subject to
             Landlord's prior approval, which shall not be unreasonably withheld. Any
             improvements, alterations or additions shall be of good workmanship and material and
             shall not reduce the size or strength of the then existing improvements or of any load
             bearing wall or structural support Landlord makes no representation or warranty
             concerning whether any such work is permitted by the applicable laws,ordinances, rules
             and regulations of any applicable governmental authority. Tenant agrees to obtain all
             necessary consents, licenses, approvals, and authorizations of any such governmental
             authorities or utility provider s prior to undertaking any such work
                            11.2. Payment of Costa;Indemnity. Tenant shall promptly pay all bills
             and expenses resulting from any such improvements, alterations or additions. Tenant
             shall defend and indemnify Landlord and its managers and agents from and against any
             and all claims, losses, costs, expenses, and liabilities arising as a result of or he
             connection with any work done on or related to the Premises,including any claims for
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Case 5:21-cv-00007-TTC-JCH Document 1-1 Filed 01/29/21 Page 23 of 92 Pageid#: 27




               dtuttageorinjury. and any mechanic's lien claims. Tenant shall fully pay and satisfy any
               mechanic's liens which may be filed againstthe Building or any portion ofthe Land as a
               result ofany of Tenant's work.
                              1L3. Ownership of Improvementit Removal Any improvereents
              alterations, additions or fixtures placed on the Premises, whether or not permanently
              affixed to the Premises,shall become a part ofthe realty,shall belong to Landlord, and
              shall remain on and be surrendered with the Premises at the termination of this LOW-
              No improvements, alterations or additions to the Premises shall he removed without
              Landlord's prior Written consent,although upon Landlord's request Tenant shall remove,
              at the termination ofthis Lease,any such improvements,alterations and additions which
              1.andlon1 may specify, Tenant shall repair all damage caused by any removal, including
              any damage calmed by wall or roofpenetrations.
                       12.    Assignment or Sublease.
                              12,1. Tenant shall not assign this Lease, sublease the Premises or any
               inet thereof or allow anyone else to use or occupy any part of the Premises without
               Landlord's prior written consent, which consent shall not be unreasonably withheld or
               delayed. The parties agree tha4 in determining whether to grant consent, Landlord may
               mice into consideration the net worth or other creditworthiness of the proposed assignee
               or subtenant,the nature ofsuch party's proposed use ofthe Premises or portion thereof,
               such prty's general business reputation and character, the impact whir% the proposed
               assignment or sublease would have upon other tenants ofthe Braiding or the figure value
               ofthe Building, and other such lectors. Notwithstanding the above,Tenant shall not be
               required to obtain Landlord's consent in the event that Tenant Is sold to a third pasty or
               Tenant terms a new entity, which is controlled by Tenant or its affiliates. However,no
               assignment/sublease shell in any way relieve Tenant ofits obligations under this lease.
                             12.2. Assignment by Laudlord. LandIonl may assign this Lease to say
              subsequentpurchaser ofthe Building or any other entity owned by Kenneth Cuave,and
              upon such assignmentLandlord shall be released from all rights and obligations under the
              Lease, except for any such rights or obligations accruing and unperformed prior to the
              date ofthe sale.
                      13. Right of First Reftnal of Tenant to Purchase Building or Lease
              Additional Space. If at any time during the life ofthis Lease,including any renewal
              terms, Landlord receives an offer from a third person for the purchase ofthe Building or
              forthe leasing ofany portion ofthe Building(other than thePremises)to a party which is
              not a current tenant ofthe Building or a party related to a current tenant ofthe Building,
              and if Landlord desires to accept the offhe, then Landlord shall promptly deliver to
              Tenant a copy ofthe offer(if written) or a letter setting forth the terms ofthe offer (if
              verbal), and Tenant may within fifteen(15)days thereafter elect to purchase or lease the
              Building or portion thereof on the same terms as those set forth in the offer. Should
              Tamer not exercise its right to purchase or lease the Building or portion 41=04 and if
              Landlord dens not sell or lease the Building or portion thereof to the third party, then
              Tenant shall continue to have this right offirst reftmal in connection with subsequent
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               offers. If Landlord sells or leases the Building or portion thereof after Tenant's election
              :riot kifidielai this       ilieriAireaele',.(itihe'traniaCtion lie sale)shall be.aubj4tWillis,
              I.ease If Lindkintleases,-Orili portion of the-Buildink then this fight of first'raja
               shall continue to exist Witlirisritot to the rcisaifllng pardonsofthe Building.
                    14.       Option to Purchase. In addition to the rightoffirst refine'setforth in the
              above section, Landlord grants to Tenant,an option to purchase the Premises, which
              option shall commence at thkeicia:ii-silaii ofthe Initial Term and at the beginning of the
              one(1)year automatic renewal termi-diereinafter, and terminate at the conclusion of this
              Leas. 1oi uzpss of clarity, the ,picrelefie,dptinir'gra-need I Tenant sh11*red;
             Interdaring all re-Oral terms ofthe Va-aii,..04'0016ii.may lie:iictratta atany time by.
              Talent upon'giving Landlord a written tiotiCTe'iri.aceor4anCe:*iih $0atiedi 22. Sliitge
             "Tenantic4foise this Pnribaie ;1)114;14-iliti,Patties'i;vill be deemed to hive-entered into the
             'following elite:ern:int  "Agreement")on the date ottheilUtith'
                         14.1 :?rice, Th,peitelraie• :iniCe"(Viiiie Premises shall be an amount agreed upon
                by the parties,'ivith any Tenant Improvements valued in as provided bili*,4Ifthe parties
                cannot agfeeptheY shall' ,'Ohoo:pe Woorp'00         estate appraiser and the tWo'appraisers so
                chosen shall pledithird; and the three ilraE'conduct indeixident appraisals ofthe then
                current f_arr' Oarket value of the Premises using the sales comparison approach, with
                Tenant nnProveiTieiti*allied as,provided bolo*, the highest and'InW:it-st akinsisei to be,
                    -ted and the purchase price to be the anioimi of the-middle appraisal. Each party shall _
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                pay the fees of the appraiser it selects, and the two shall equally share the fees of the
                third.
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             'Value ofl roVennti:. Tenantmay ;rake certain iMproVernents after the ii*couti6a,of.
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             'and Intent being that ii*Oitetnennt will be valued based on a 10 yearn hf; with straight
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              line depreciation over that 11 yearperiod.
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              Ifthe Property is to be appraised,the appraisers will be given a list ofthe improvements
              as asked to factor in a with and without valuation, and such improvements shall be valued
              accordingly and the purchase price shall be the"without improvement valuation."
                     142 Payment of Price. The entire purchase price shall be paid in cash at
              closing unless the parties mutually agree upon other terms atthat time.

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               litilkaOee company authorized to issue title insurance policies in th**404,in which the
                Premises are              Delivery of otititixiiniiiit foettUeh a policy will be made td TeOitit:
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                recording ofthe deed Tenant 4011 have ten (10)                                   the commitment
                to examine it and to advise Candlord in ntuig ofruiy.,exceptions which areieisiii4hiyi
                objectionable to Tenant In 1the absence of such a notice,':title will conclusively be-
              • presumed to.be satisfactory to Tenant; Landlord shall have untilit4e;Oliiiitildtite to
                correct any objections triAitle and have ih414thoWo on ,,a7ivileid';titii-311ititiatie•
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              it ogtolijiror other cause that could b covered by extended coverage Insurance, Toot,
               ,464 , ti*cbme.the Premises tinder tliia;A0einent,,.yut shall he entitled to receive at
                closing czthr(a) all the insurance proceeds, or(b) an aic1ginenx of Landlord's right to
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                 Lig*  . the title insurance cotatuitinejit,or at such 014drillito Oka SS. the panics TriaY
                            closing, Laidlord                              , ..eitetiti4        :cO4reyiliig'the
                           to Tenant, and Tenant shall deliver to Landlord the cash,notes, mortgage,44e4
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                 pay alltIOSIng cOsts siMOpt.2fOi the Olifisti's tide bisiMMO Ii5410y*oo,orti. "•
                     15 i. Inspection tin"dlOidith itsagents may enter the Premises at reasonable
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               the '120)44'ortheLeriii*:i0Ati;140141. Old*i'AliPlai;i4 Tafilt*itt         ;Ott'thO
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               orassesinenla'Ofede against such PremIsesand shall defend and .      .iit
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                clairi ijaint Landlord for they             ofany unexpired term ofthis Liasif           :1
                        18.     Damage By Casualty.
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               may at Its sole option t iniae this Lease Ifthe Léae is so canceled,rerifaiiat be paid.
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               Landlord. I If Landlord'i diree7;iitit::plea Vi:teritiiinite this Lease, caw:Of-total!
               untenantahility; this Leese shall continue in full'force and effect andIendlord shall
               restore the Premises toat least their.previous,                                         Fe;
               that purpose, Landlord and kiiitOnt4 ai4ctintisiteis:04*Anr iiinPrinila4;-:Rent
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                                              claims aball,tie Madehy or allowed to Tenant by reason of:
            Joy inconvenience or annoy:ince arising froth the repaii wóit• LazidIodchlt be entitled'.
           , to oll',Inita,44proCeeds.,including any proceeds Ern141.-niiinOin.s"
             .extent the iitipe coVerBiiiidinifixtures;equipmentiyeteMiao'material that ñecd to be
                                                                                           g,
              replaced as part Ofthe repair ofthe Premises.            -
                            18.3. Removal of Rubbish and Property. In the event the Premises
             suffer any casualty damage,Tenant shall within ten days remove any debris or rubbish,
             remove its Personal :,,Vemlii.s,:tiar,the.!deieigell:cPranises, and clean the damaged
            ,pretiles to facilitate repiiiraiii..,?tigkeg
                     19. Default By Landlord. Tenant shall give Landlord written notice of any
             default by Landlord. If(a)the default is not cured within thirty(30)days after Landlord
             receives the written notice, or (b) Landlord does not within that thirty (30)-day time
             period take actions which, if continued with reasonable diligence, will cure the delimit,
             then Tenant at its election may declare this Lease terminated after an additional period of
             thirty days. If this Lease is rightfully terminated in accordance with this section, rent
             shall be paid only to the end of the second thirty (30)-day period. Tenant shall look
             solely to Landlord's equity in the Premises for satisfaction of any remedies ofTenant in
             the event ofLandlord's breach.
                    20.      Default By Tenant.
                           20.1. Events of Default Tenant will be in default under this Lease
             upon the happening ofany one or more ofthe following events:


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Case 5:21-cv-00007-TTC-JCH Document 1-1 Filed 01/29/21 Page 27 of 92 Pageid#: 31




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                                obligatioir comeIdedietha                                                  •       1


                                      (b) M& _411roaxitY*4 iiVres;PtatIm` or' stitiii4t: made or
                                furnished to landlord, by or OfAwhalt Tenant for;the,lo.OPose of
                                inducing the execution ofthis toilei, or any dther:Streeniont between the
                                parties proves to have beeiffalse in anyrriiietial•respect'wherVtoade or
                                furnished
                                      (e) Tenant is dissolved or its existence terminated; Tenant
                                 becomes insolvent, its business fails, or,a receiver is appointed for any of
                                tTenaris,Preniiees;,'Tenantis general!.y not:Pnifingiti;deb-Li as!tt@i-
                              ;becãnie d(ii; oiTenant_ Makes an aisiiirnentfor the benefitofhe creditors:
                               ;inIsiliesubjeei oreny.yebnitriyo-yl ‘1nVokintilibiiikriritiy'sii•inielyeney,
                                 proceeding.                    •
                                     (d) Any of the occurrences set forth in this section above
                                occurs with respect to any guarantor or surety ofTenant's obligations.
                                       ,(0): 'Tani-tr.-abandons-thePremises;or,the'Premisaor Tenant'E
                                leasehold interest'idthe Premises are attachedoi taken—iiiideriny court
                                order or writ ofexecution.
                                 20.2. Rights of Landlord. If Tenant defaults,Landlord may iv-enter the
               Premises and take possession ofthe Prenitses,:i'rithai Withotit-firee            0151-CiSy and,
               without notice or demand.,The service ofMitied,14eiiiiindandicial process are waived
              ib'y itinait;                     LeridloidliMii:PriVinfTenent'S en*:upon ,'the Penises,7
              t***,bolint-11610:to Tenantfer &TY damages or for.innieeinien..<:WithOut
              t•Lendlord may enforce its rights by an ititlatt'forij*tand..ps sioi,*10 ,       /-U:dif014i41
             : cif;i.athea",leia1 4eineiy! 'rTenant,:egreei that,1.notwitittandine
             *;(iossession'ofithelretrats:,:teugilts,shiall -1171118iii UWE for and shall pay Landlord an
                                                                 tie end Of the then-applicable terra of this
               liase. This amount                     (i) Iiii'litieelerated and become payable at once, or
              (ii) beCeine,due.and be payable monthly, at the'solo option of LaridlOnt" In -tefiliiicin,
               Tenant shill he liable for.and °shall pay to Landieirl.any.loss or deficiency sustainsd
                                                                                                  _        by
               Landlord because ofTenant's default.
                               204. `.Relining ,̀,Prennsel. -                                          arid.
                               theP,r*s.04-tendleid von Tenant's default shall liititherigbt, without
              :xiotice to Tenant, andwithout tenninaung this Le*.sit;to dial*siteMtidhi and repairs for
                the PUttiose'ofreteLling the Premises; LindloIrdinal4iitet or attempt to         ;'PringOis
                or any part O'f,the'Premises tiifthe Oinainc*ofthe aiiii4ppiolo Lease thin or for any
              'longer or shorter peiod alcip:00rtiaity
                                                  —     may offer to such laoroos and atsuchrentaInay
                                                                 Landlord to
                retch thiPremlses,and any refOiptiahallbe done hilian-d1074 as agent for Tenant In
                cgse . _             ,                                           • • _ the einount,i?f•tint'
                                                                      • • L. • between                    •
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Case 5:21-cv-00007-TTC-JCH Document 1-1 Filed 01/29/21 Page 28 of 92 Pageid#: 32




            payable during the remainder ofthe term and the net rent actually received by Landlord
            during the term after deducting all expenses for repairs, alterations, recovering possession
            and reletting the same, which difference shall either(i)accrue and be payable monthly,or
            (ii) be accelerated and become payable at once,at Landlord's sole option.

                            20.4. No Termination. No actions taken by Landlord after Tenant's
             default shall be construed as indicating a termination of this Lease. This Lease shall
             remain in full force and effect and shall not be terminated unless Landlord so elects in
             writing.

                             20.5. Cure. M Landlord's election, Landlord may cure any default of
             Tenant by expending money,contracting for the making ofrepairs, purchasing insurance,
             or by any other actions. If Landlord takes any such actions, Tenant will immediately
             upon demand reimburse Landlord for all ofLandlord's expenses. All such expenses shall
             bear interest from the dates they are incurred until the dates they are paid, DI an annual
             rate equal to the rate set forth in Section 3.2 above.

                           20.6. Costa and Expenses. Landlord shall be entitled to recover from
             Tenant all of Landlord's expenses in exercising any of its rights under this Lease,
             including without limitation Landlord's attorney's fees and expenses.

                          20.7. Remedies Cumulative. All ofLandlord' remedies are cumulative,
             and may be exercised successively or concurrently,at Landlord's election.

                            20.8. No Counterclaims. Tenant agrees not to make any cotmterclaim
             ofany nature in any proceedings brought in connection with this Lease. This agreement
             shall not, however, prohibit the maintenance of any claim in a separate action. Tenant
             waives any rights it may have to redeem the Premises from any re-entry and possession
             by Landlord. Any breaches of any covenants of this Lease shall be material breaches
             endding Landlord to its remedies,regardless ofthe extent ofactual damage.
                    21.      Waivers, Any waiver, consent or approval on the part of Landlord must
             be in writing, and shall be effective only to the extent specifically set forth in the writing.
             No dilaY.o=?0,Olit4iOn,l)y,Landlord in the exercise ofany right orremedy with respect to
             any one*.eqainn#0,tilnpair Landlord's ability to #500.*40 right or remedy in the
             same or on another occasion.
                     22.     Notices. All notices or other communications shall be in writing signed
             by the sender, and shall either be(a)personally delivered or(b)mailed by certified mail,
             at or to the following addresses:

             Landlord:      New Lifestyles,Inc.
                            do Kenneth L.Cuave,President
                            P.0.fox 64
                            Winchester, VA 22604
                           (540)722-4521
                            dikixave evilifestiflotel


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Case 5:21-cv-00007-TTC-JCH Document 1-1 Filed 01/29/21 Page 29 of 92 Pageid#: 33




                   Copy To:        William A.Truban,Jr.
                                   Owen and Truban,PLC
                                   P.O.Box 267
                                   Winchester, VA 22604
                                  041:0 678-0995
                                  iblinhan(dInWentrirbaranitt

                   Tenant:        CALO Young Adult- Winchester,LLC
                                  P.O.Box 1810
                                  Lake Ozark, Missouri 65049

                   Either party may change the address by written notice to the other. Notices shall be
                   effective when received (if personally delivered) or when deposited in the United States
                   Mail (if mailed by certified mail), or if sent via email, upon receipt of a reply email
                   confirming such notice has been received.
                           23.    Return ofPremises.
                                    23.1. Condition ofPremises. At the termination of this Lease, Tenant
                   afiKeffs to deliver:tel‘Landlord il*Prethiss4 and all mechanical sy.gePai and all equipment
                   and fixtures thereon in good woddng order and condition.
                                  23.2. Holdover Tenancy. Should Tenant fidl to vacate the Premises at
                   the termination ofthis Lease, Tenant shall pay fbr each day ofthe holdover period either
                  (a)twice the then-applicable rent, or (b)a marent fair market rent for the Premises (as
                   determined by Landlord in its sole judgment), whichever is higher. All the terms and
                   provisions ofthis Lease shall continue to apply. Tenant will be a tenant at will during the
                   holdover period. Nothing in this section shall be a waiver of or preclude the exercise of
                   Landlord's remedies for Tenant's default Should Tenant's holdover prevent Landlord
                   from fulfilling the terms of another Lease, Tenant shall defend and indemnify Landlord
                  from all direct and consequential damages for which Landlord may he liable, or which
                   Landlord may suffer,as a result thereof
                           24. Quiet Enjoyment. Neither Landlord nor Landlord's successors or assigns
                   will disturb Tenant in its quiet enjoyment ofthe Premises.
                     25. Indemnity. Tenant shall indernnify, defend,and hold harmless Landlord
             from and against any and all damage, expense, claim, liability or loss including
             reasonable attorneys' fees arising out of or in any way connected to any condition
             occurring on the Premises or arising outofany use ofthe Premiaes during the term ofthis
       -----Lease.--This-duty to Indemnify and defend shall include but shall not be limited to
              damages, costs, liability, loss and expense including professional consultant, engineering
              or attorneys' fees incurred in responding to federal,state, or local laws,strict liability, or
             common law. Tenant shall ensure that its liability insurance policy covers its obligations
             under this indemnity agreement.


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Case 5:21-cv-00007-TTC-JCH Document 1-1 Filed 01/29/21 Page 30 of 92 Pageid#: 34




                                                  Subrogation.', Landlord dTenertieach reSpectiiely,waiiie all r
            •           of'iiiciicrY ageing the other and the otiMei:aialti-      . 4ern —geyeiii;orMittad
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            • ind:itSigneee;',for:any,loss'ar 4aniaii to Premises or 140.0' tZ?„,.ci-diath of persons, to the
             !"4-tene,the'sainels.-Cinrciid or indemnified by ire**,of:any insurance policyJAI*.
            .10ither ofthe parties                       *TM* to carry underthe tents Ofthis Lease(whether
                or not such'patty                        inaintainirii•such ,insurance- eMieniee), or, for which
            'reimbursement is otherwise received.                                           shin 414 only so long
                             es'..reSpeeilve thsuranec companies e,pr l ibiz.euijiVegs •sigreeineilfiüd -
           • waive all'iiihnigaticiiiiiiits;.'.'Each party shall have a'ientienitcg obligation to tOtiktke,
            • othi party If thiseiVaiviri Siecnnt:enrated;;Ncithini I in this'sention7Sitail riniP;eke
              !grater liability:40h the Latidlind than-Would have eicisted in the absence this seetitin.
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               .and shall be affeetive even thmigh'Such-clalins7may arise as a tinilt„ ofthe negligence of
                the_ faiti.
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             ju..rotuisci;
                  *.        at tr, itii foie-614*e' Sale ofall Or any PIO Ofthe Pieinises2,,
                         28 'Owner               joins in this kite and   akoi4 that so long  as Landlord :is
             i renting    the ;:ibaii7:Proiecti?to.,,:fetlant; OCiiei.,,willlease the sae to Landlord
             I FUTiheitiiiire;ifTeliant aacemiselany,iighti under Sectio-iiii13.(11:zghi-ofFiiit Refusal)znid
                 ( 0.._ptine);    o. •   •
                                             agt_esii to be bound by thetetiii.
                                             e.        .                •••
                                                                                     conditions ofthis lease
                                                                                               •••     ".•
              so, ;to;convey:such Property,under'Such vterms Gust as if Owner were the Landlord
               lierlinider):;;Ovitier Wariantiand represents itis °Vine&100% by Kenneth Cuave.
                     29. Successors and                     Lease shill inur6-10--the benefit        :at.ina
              binding upon the heirs; sttis, executer-S:1,a:hi-11036.0    -0; AtiCeiienr
              successors and Cm the case ofTenant, pertained)       -   the respective
                                                                            • -
                    29. Memorandum of Lease. Neither this Lease nor any memorandum or other
              evidence thereofshall be filed ofpublic record by either party.




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              24113512v1
Case 5:21-cv-00007-TTC-JCH Document 1-1 Filed 01/29/21 Page 31 of 92 Pageid#: 35




                      INTENDING to be fully bound,the pazties have executed this Lease the day and
               year above mitten.
               Landlord:                         NEW LIFESTYLES;INC.
                                                 a Virginincorpzuntion

                                                 4,3,):., ii 21,e....;?..i.,, ,
                                                                              ,,
                                                                               ,,,.._ .
                                                 lco,Kii   .....Y.e;President

               Tenant:                           clutrYoutio.Appurs -81**0117$ATER.LLC
                                                 aDelawara linaitedlialdlity company
                                                 • 13.Y:
                                                        1 eizie
                                                  Prbielltle

               Owner:
                                                  491rgittO OF NVINCARSTER4




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Case 5:21-cv-00007-TTC-JCH Document 1-1 Filed 01/29/21 Page 32 of 92 Pageid#: 36




                                            Exhibit A
                                Tax Map.hsto.mid Deed ForProperly




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             241335120
             DRAFf II/19030PM
Case 5:21-cv-00007-TTC-JCH Document 1-1 Filed 01/29/21 Page 33 of 92 Pageid#: 37




       Renfo Property Information Form


       Property information

                 Area WINC         Dist                                Rea#       6,475.01     Map td 172-01-0- 2

        Description 303 AMHERST STREET

              Address 303 AMHERST ST                                                                Acres   0.08
        Land Value           75,000                     Zoning MR                              Elec/Ges Y IT

        Bldg Value           212,700              Esmt/ ROW PAVE /PUBL                       Water/Sewer PUBL/PURL

        Total Value          297,700                 Character RLNG                   Deed Ref Bk / Pg 080002814

          LU Value                                   Land Use SFAM                  Sale Price I Parcels 1/4

       Tax Amount              2,818.07            Occupancy SPAM                               Sale Date 9/25/2008



       Owner information
                                                                ^
               Name PROPERTIES OF WINCHESTER LLC

          Address P0BOX 84

                      WINCHESTER, VA 22804
                                              ^
          -


       Building Information

         Bldg Sq Ft      1,979              Stories 2                     Unite 1                   Year Bulit 1925

        Bunt Sq R            728           Alr Cond N                 Garage l#                     Condition AVG

       Etsmt Fin SF          300          Fireplace 1                 Carpoiti0                        Rooms 9

         Basement FULL                        Flue                         Heat HWTR                Bedrooms 4

        Foundation CONC                   RoofType GAEL                   Fuel GAS                   Fullbathe 2

       Walls Ex/ in STUC/ PLST            Roof Mall SHGL                  Floor WOOD                HaIlbathe 1


         The Information contained herein Is deemed reliable but NOT GUARANTEED. The official city or
         county records must be checked to verify the accuracy ofthis information.
Case 5:21-cv-00007-TTC-JCH Document 1-1 Filed 01/29/21 Page 34 of 92 Pageid#: 38




               010002614                                                fl[ .    ..':C; I
                    THIS DEED,made and dated this           day ofSeptember,2008,by and
              between KENNET/I L.CUAVE(also known ofrecord as KENNETH

              CUAVE),hereinafter called the Gruner;and PROPERTIES OP

              WINCHESTER.LLC,a Vhginia limited liability company,hereinafter called

              the Grantee.

                    V/ITNESSETH:That for and in consideration ofthe sum ofTen Dollars,

              and other valuable consideration,the receiptof which is hereby acknowledged,

              the Grantor does hereby grunt and convey v4tb General Warranty and English
              Covenants oftitle unto the Grantee,in fee simple,the following property:

                    PARCEL ONE. I thatcertain later             oflend,together
                    withthn-               themon and the           cos thereto
                    bganiting,improved       dwelling desi       es221 West
                    Basemen Streetin C           Winch ,VhIgnia,fronting
                    on Boseawen Street adi        f2       more or less,and
                    extending back soot/twangy I        more or Ices; AND
                    BRINOthesame propaty cony            Kenneth Owe by dead
                    dated August 28,2006,from         P • Properties.LLC,a
                    Virginia limited Utility        ,of       in the Clerk's
                    Office ofthe Circuit      ofCity of           .Virginia as
                    Instrument No.060003 0,CrAX MAP Nal               1-146)

                   PARCEL TWO: Allofthat certain toterFocal oflend,
                   coldeniag2,728.80 squarefeet. more or less,Improved by*
                   dwelling home designated303 AmherstSheet,located in the
                   northwestsection ofCityofWinchester,V mua,and more
                   particularly described as Lot I on thateestein pima
                   "Spealanau Lots,North Stewartand Amherst street?' molded
Case 5:21-cv-00007-TTC-JCH Document 1-1 Filed 01/29/21 Page 35 of 92 Pageid#: 39




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                                    Slither-aid Moreparticidarly,diStaibed bY plat and evii* of
                                          CAsackliter,dated 0dither:10;1991 moOtted In the
                                    ofdresaid Clerk's Office in Died Iiitok7A9,Page i404;AND
                                   J3B1NG4he sameropertimilieriYa to Katieth L ataiti bY •
                                   'deed dated November 18,WM from lack S,Carotheri end
                                   'PositC.'Caitithiii,•hisband add wife;oftcoard in the
                                    sibressid Clerk's Office-03InstruMirtNo,050005838.
                                   (TAX MAP NO.172-01-D-2f
                                    PARCEL THREE: All ofthatcumin.lmd at309 Amherst
                                    Streetin the City Wilmbester,             fronting 40feet on
                                    Amherst Street,       urIó,ercieri     aImifarm width
                                    southerly for 180           or less Ajoiat40in the rear;
                                    lcounded°tithe cast by dnow formerly ofauckner,on
                                    thiweit by land now or,I         ofClevixtger;'AND BEING
                                    the some property conveyed              Mavis by deed dated
                                   '*umbra'20,2006,front B                Fait and Caroline&
                                    Felix,husband and wife;of              e Clerk's Office ofthe
                                    Circuit Court oldie City Winehater,Virginia,as Instrument
                                    No.060004008.(TAX                  371.01-04)
                                  PARCEL HOUR: All that certain lot orp             (gland.
                                  together with all 1     yitMenti.andin            Pe*taiiito
                                  belendlcii. lYirdi'and      nitride it          01 on the
                                 ' Neat= Side ofSonik          eroirS , lnthcCityof
                                  Winchester. Virginia,•,                 street a dbtance ofSO
                                  Diet, more or less,and extra           ''Westward a distance of
                                  110 feet,more or less; AND13 et*same Rolm*
                                  conveyed to Kenneth I.:tAtiril by        dated December 16,
                                  2002,from Laurence O.                    4LindeS,Sullivan,his
                                  with,ofrecord Le thethile pgioct CheekCourt ofthe
                                  City ofWinchester,:yr...     •                    020094849.
                                 (TAX MAP NO.192-1 *10r
                                    Reference is hereby made to the aforesaid Mammals and the

         -
                              attachments and the references therein contained,fore more particular
        1111111141Cilrelk -
       1411Z1004011101111 4
       Artwarieorut•

       41KINER/11,0••••••:n
Case 5:21-cv-00007-TTC-JCH Document 1-1 Filed 01/29/21 Page 36 of 92 Pageid#: 40




                                                                                           n ;:             1(1


                             1 description ofthe property hereby conveyed.
                                                                                                                   •
                                    This romveyance is made suhlectto all easements,rights ofvnty and

                              restrictions ofrecord, Warm affecting the sobJectpropesty.

                                    WITNESS the &flowing signature and setd:


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                                   My CoUsmission Expires: •            31                 •




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Case 5:21-cv-00007-TTC-JCH Document 1-1 Filed 01/29/21 Page 37 of 92 Pageid#: 41




                                            STANDARD COMMERCIAL LEASE:

                                  .•                      -
                      .,M31.$:LEASE (tLeaSe7);)Li cndthlè 20thi            of..14-aliaiibai.,)
                                                                                             1613; by.l" ad
                                                                                                         '
              between NEW.LWESTYLE.INCjaNliiriniteno:ipopitioik(fefoina4arr                   “Cintlkirito)4
                                YOUNG'ADULTS.;,NYINCHESTRIVLEC,a:,Dela**,liiniticl'iinbtlity
            '.641137,1ialtil',010e444-4. ''.44"Ten*at'.1:1  PROPERTIES OP IVINCHEserp%;:;44,-
            `090Tie5i;         .                    '       "      '
                                *'aitiOad!PmniiSes. ;14indlnial'10ast*in?TOMO;,and ataialit,leises fenrif
             4:incite:ft tha foll lng described prethisei aád eu the iiproveinenth7-Sithatil4iii the
              premises                            op.*par.t.;#1,:i.r1P0fal,s'esNlai*  Pity of Winchester,


                           '..71 Property                  Tax Map . Permitted                  Monthly
                ,                            -             Number          Use                    Rent   .4
                 304 Amherst Street -               .     172-01-B-4 '. Residential             $ 2,750
               .                    —          . .
              See Exhibit is,:_fot, additional;descriPtion ofthe itaniiias with Exhibit'     , A" atiached
              hereto and incorporated herein bythis reference, with such property haninailer fa.1417,41'
             •tnia ilia              and theiinjnoventinitsliatainaffit tifinati to as the"Building."

             The Premises             furniture and retilitiPritent .and, thTit is belt* Included in, the lasso
             hereunder.          flinittitt and                                                 the
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              same if broken. If                     441             such furidtdiandYeirttilinieat *Mein
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              fOth•..*:$4titin't
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               oriithOr such act or omission to occur on the Pcemiss,and chll eot'do any act or allow
                         4ernissa any condftionwbich may disturb the quiet eajôrnent of other tenants of-
            4,,04":tha--x/
                         1
               the Building or tilt* pciapylna surrounding • tabratles.Jatiaiit shall complywith all
               laws in its Ili*orsuch pifiatiles`tiatl if changes*00004 to such properties due to
               such use,Tenant shill be responsible for the sanie. • ' • '               '




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Case 5:21-cv-00007-TTC-JCH Document 1-1 Filed 01/29/21 Page 38 of 92 Pageid#: 42




                       3.     Base Rent.
                             3.1. Base Rent Amount. Tenant agrees to pay as Monthly Base Rent
               for each property in the amounts set forth above, payable in advanee on the fifth day of
               each calendar month during the term ofthis Lease.
                              3.2. Late Payments, Any rent payments received by Landlord more
               thanlive(5)days late shall bear a late paymentfeeof$100 pa property rent that is late,
               and interest from the dates they are due until the dates they are paid, at an annual rate
               equal to two percentage points over the prime rate asannounced from time to time in The
               Wan streetJournal, recomputed and modified =the first day ofeach and every calendar
               month. In the event the above publication Is no longer published, then Landlond shall
               choose another generally accepted and widely published prime rate.
                              3.3. Annual Increases, The amount of the Base Rent shall be
               Increased once each third lease year, as of the gat day ofthe first month ofthe Lease
               year, by three perrent(3%)over the amount thereoffor the preceding three lease years,
               Including.renewalterms. The new Base Rentamount shall be payable beginning with the
               first month of the lose year without the requirement of any notice from Landlord to
               Tenant
                      4.      Term.
                           4.1. Initial Lease Term. This Lease shall be for an initial term ofthree
               years and 41 days, commencing November 20, 2015) and ending at midnight on
               December 31,2018.
                              4.2. Automatic Renewal. If this Lease is in force on the expiration
               date of the initial term, and if the Tenant on that date has fully performed all its
               obligations under this Lease, this Lease shall automatically renew for one year terms
               thereinafter. This automatic renewal option shall continue from year to year until
               te.rminated by written notice from Tenant to Landlord no later than thirty(30)days prior
               to the expiration ofthe then-current term. The- same terms which apply during the initial
               term shall apply during the extension.     •
                      5.      Condition ofPremises. Tenant has inspected and knows the condition of
              the Premises, and accepts the same In their present condition, By its execution of this
              Lease, Tenant acknowledges that Landlord has made no warranties, representations or
              statements whatsoever concerning any condition or matter relating to the Premises,
              Including such matters as the inome or expenses ofthe Premises, title to the Premises*
              legal status ofthe Premises,availability or cost ofutilities, or physical condition of the
              Premises or any improvements thereon. Tenant further acknowledges that no agents,
              employees, brokers or other persons are authorized to make any representations or
               warranties for Landionl. Landlord has relied upon these acknowledgments as a material
              inducement to enter Into this Lease. Tenant is hereby leasing the Premises "as is" and
              "where Is* and trees that it relies upon no warranties, representations or statements by
              Landlord or any other persons for Landlord in entering into this Lease Terrain
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              dicidth or property, and Tenant hereby knowingly and delibciately wáiëá any Claim for
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                                                                      „              any defects in or about
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               the Premises- after the execution hereof.         —
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             •,litini4cs or similar services Used itOrin connection with the Premises
                                                    •
                      , 7. ,Tenant's Taxes. Tenant shall timely pay or cause to be paid when due all
               red'.estate, personal property, sales,         and other taxes 0' assessments, gcnirsi,or
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              ,Tenant's property located in or used in connection with thePrOthiaisor on the ownership;
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               fonigiird or Taiit,-.;Ifailyiuele tax is assessedagainst Landlord;1:140/-4)-011 p:01de: .
            1;Tatiaikt;W- ith 7written Tnotice of;thi,assessment Upon demand Tenant;Shill provide
               Lindlord with-Picard all ierihired payment's. •                    - '                   •
                         8.   Insurance.

                   • _          8.1. .Fire .and Extended Coverage. Landlord shall obtain "all risk"
             (sometimes called "open fe.y.10.0-ilifOrit;./.1010,ate and extended coverage
               on the              kW** fixtures' and ilotk,.tOrnoiSige gioikiitipiaire*Ots, Ift such,
               amount as taii,d16#1,,dOsins                        glal„! cooperalá withLandlordo that"the'
               Lowest           ec.;:tiOpg , can be obtained, given the use and condition Of,thi:Ficiniies
                Accordingly, Tenant shall fully cooperate with         insuraiice cirrier In implementing any
                measures or.complyiag -Witit'anY iecruiiementa the carrier nayhavC. :All 44-.36'61inch,
            „•;ifiCaitires Or compliance shiill be borne byTeiiitit. • Ifthe insimuic:a rites pAliihed by
               InsuranceService Office of the.      .State ofIra.increased:as theran& ofany aa-f6iitit.srol.
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              the Premises The Insurance acid be in':Ori,aintfaitith-ot.1*than One Million Dollars
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                                 8.4. Certificates of Insurance. Tenant shall furnish to Landlord
                certificates of insurance evidencing the insurance coverage required by these provisions,
                and providing that Landlord shall receive thirty (30) days' notice of cancellation or
                material change in coverage. Within thirty(30)days after each premium payment date
                Tenant shall furnish Landlord with a copy ofthe premium bill and evidence ofpayment.
                               8.5. Casualty Damage; Claims. In the event of casualty damage to
               the Premises, and if Landlord is carrying the all-risk property insurance, Tenant shall
               immediately report the damage to Landlord and Landlord shall make whatever claim
               against the insurance company that Landlord deems advisable. Tenant shall cooperate in
               connection with the claim and shall be bound by Landlord's actions. In the event of
               either damage to the Premises by casualty or an assertion of liability, and if Tenant is
               carrying the applicable insurance policy. Tenant. shall immediately repo!t. the same to the
            'l.applicable ii)soittobOotottany.:atici*ako:alciaibi,f6r- ittiittaticis-rfiteeikeds;-:deliiirbig to

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              'cionneetiori With Landlard's -jetfoil;including without limitation any -attOrneY's'fees'
              expended by Landlord. Any insurance proceeds shall be paid to Landlord and may be
               disbursed as Landlord in its sole discretion deems appropriate.
                       9.      Liens and Encumbrances.
                              9.1. Subordmatlón. This Lcasi S' hall lie and heieby is made subject
               and subordinate to tin-Y                                         7oftrust,',and other liens or
               encumbrances executed or consented to by Landlord which do riot materially affect
              •,Tiniacs;u1se'ofitbe Premmeij.The holder ofany.atialt
               Tetiant                 :14ti*it;ilict in atioVevont'Tenailt-sbill said Copies ofall notices
               or communications regarding this            to the holder of the lien Or éncümlIanc& Such
               holder shall be entitled to talce any action or exercise any rights reserved to Landlord
               under this Lease.
                                      'NO             Eneutibranie.`..Tens.ot shall riA           iiermft
               the ertairailniike;of Plernisii,or-this'leas-e.hOld estate by any riortme; died of 014,
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               isiuMbrince to which LindlOrd has noeconsented IS Created ciifile4 ofreisimi affairts
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              ip      scs or thia leasehold estate Tenant Shall diiebarge ar:cauie,the discharge ofthe,
               seine Within ten dais after its creation. Tenant shall defend and indemnify Landlord froni
               all liability damages and expenses incurred by Landlord which result from any such
               encumbrance.
                   •           9.3. No Mechanic's Liens. This Lease does not.require Tenant to
                                   - s.Or conStrUCt any,linprOVentents Or additions on the Premises. Any
                         Ott Premise
                yip*ideOtoVidditfnokfo'llitiPinthlies4hiehTernidinightimake
               .theiole use OfTenant and will not benefit Landlord's =vivito& Tenantis not, and Shall
                not,,be deemed,'to be, the agent,of1tandlordiln;eontracting or arranging for any
                irOp— Veinctitofthe Premises or any Cent**601*,Pre,**S.'t
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               resulting Iron       meohriniei lien clin,affecin the Piemisei.
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                      10. Maintenance and Repair. Tenant.;Shati't liStin!,the • o' bligation of
              maintaining the leg downspouts, exterior walls and'fotMlOn that                    of the
              Building constituting the Premises and shall also ripidriind Maintain the general
                      'pluMbing,lieStint.elanat air.00144ton/fig;and ventilation et:Yeti* and
             teqiiipineetwhrcih serve the Pro-lilt/is;Aneiudintazj446 systems or itilpineht located
              outside the Premises but Which mcclusively Serve the Premises. Tenant shall'also
              maintain in good order and repair all improvements, alterations and additions which
              Tenant may make to the Premises, including any alterations to the Building which were
              made in the installation thereof, including roof and wall penetrations. In addition and
              without limitation, Tenant shall protect water pipes, heating and air conditioning
              equipment, plumbing, fixtures, appliances, and sprinkler systems serving the Premises
              from becoming frozen or damaged by other than ordinary wear and tear. Tenant shall be
              responsible for all window glass replacement and for maintenance of light fixtures and
              lamps throughout the Premises. Tenant shall be responsible for all cleaning andjanitorial
              services within the Premises. and Landlord shall have no responsibility therefor. Tenant
              shall keep the parking lot adjacent to the Premises and all sidewalks, alleys, walkways
              and asphalted or concrete areas ofthe Land which serve the Premises clean, sightly, and
              free of snow and rubbish, and shall keep and maintain the same in good condition,
              repairing cracks and potholes and replacing the asphalt or concrete when needed.
              Landlord shall have no responsibility for any repairs/improvements unless such damage
              is caused by Landlord.
                          11.   TenantImprovements and Alterations.
                             11.1. Tenant's Rights. At its sole expense, Tenant may, but is not
             required to, make improvements, alterations or additions to the Premises, subject to
             Landlord's prior approval, which shall not be unreasonably withheld. Any
             improvements, alterations or additions shall be of good workmanship and material and
             shall not reduce the size or strength of the then existing improvements or of any load
              bearing wall or structural support. Landlord makes no representation or warranty
             concerning whether any such work is permitted by the applicable laws, ordinances, rules
              and reguIattonsof an niplieible*nyeinitriiini:,thed .Tenant;agrees to obtain all
             aette.tiOty,v.OSSentS; lioettsevapPtOys193.,and 1*004400s. of any .7sIntsh.toveittmental
             itutiOrities Utility provider prior to Undertaking any such work.          -

                            112.. Payment of Cysts;Indemnity. Tenant shall promptly pay all bills
              and e*pe3ei  resulheg  from any such improvements, ateTaons or additions 1Tcnant
                                                                                Atm and against any
             ,WidfdfifiidtindiindemiiiklandiMfand,10,isniitikeM 4:tiq agents from
              and all claims; losses, costs, eXpenies; and liabilities arising— as it- result• of Or in
              connection with any work done on or related to the Premise; including any claims for
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               damage or injury,and any enechanic's lien claims. Tenant-shallfidly pay and satisfy any
               mechanic's liens which may be filed againstthe Building or any portion ofthe Land as a
               result ofany of Tenant's work.
                               11.1 Ownership of Improvements; Removal. My improvements,
               alterations, additions or fixtures placed on the Premises, whether or not permanently
               affixed to the Premises, shall become a pan of the realty, shall belong to Landlord, and
               AO remain on and be surrendered with the Premises at the termination ofthis Lease.
               No impmvements, alterations or additions to the Premises shall be removed without
               Landlord's prior mitten consent,although upon Landlord's request Tenant shallremove,
               atthe teemination of this Lease,any such improvements,alterations and additions which
               Landlord may specify. Tenant shall repair all damage caused by any removal,including
               any damage caused by wall or roofpenetrations.
                         12.   Assignment or Sublease.
                              12.1. Tenant shall not assign this Lease, sublease the Premises or any
               part thereof, or allow anyune else to use or occupy any part of the Premises without
               Landlord's prior written consent, which consent shall not be unreasonably withheld,or
               delayed. The parties agree that, in determining whether to grant content,Landlord SZUly
               take into consideration the net worth or other creditworthiness of the proposed assignee
               or subtenant, the nature ofsuch.party's proposed use ofthe Premises or portion thereof,
               such party's general business reputation and character, the impact which the proposed
               assignment or sublease would have upon other tenantsofthe Building or the future value
               of the Building, and other such factors. Notwithstanding the above,Tenant shall not be
               required to obtain Landlord's consent in the event that Tenantis sold to a third party or
               Tenant forms a new entity, which is controlled by Tenant or its affiliates. However, no
               assignment/sublease shall in any way relieve Tenant ofits obligations under this lease,
                              12.2. Assignment by Landlord. Landlord may assign this Lease to any
               subsequent purchaser of the Building or any other entity owned by Kenneth Cuave,and
               upon such assignment Landlord shaft be released from all LieltS and obligations under the
               Lease, except for any such rights or obligations accruing and unperformed prior to the
               date ofthe sale.
                      13. Right of First Refusal of Tenant to Pomba* Building or Lease
              Additional Space. if at any time (luring the life of this Lease,including any renewal
              terms, Landlord receives an offer from a third person for the purchaseofthe Building or
              forthe leasing ofany portion ofthe Building(other than thePremises)to a party which is
              nota cturenttenant ofthe Building ora party related to a current tenant of the Building,
              and if Landlord desires to accept the offer, then Landlord shall promptly deliver to
              Tenant a copy of the offer(if written) or a letter setting forth the terms ofthe offer (if
              verbal), and Tenant may within fifteen(15)days thereafter elect to purchase or lease the
              Building or portion thereof on the same terms as those set forth in the offer Should
              Tenant not exercise its right to purchase or lease the Building or portion thereof, and if
              Landlord does not sell or lease the Building or portion thereof to the third party, then
              Tenant shall continue to have this right of first refusal in connection with subsequent
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                 offers. ..If Landlord sells or leases the Building or portion thereof afterTenant's election
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                 Lease If Landlordleases only a.Portion of the Building, then this right Offirst retinal
                 shall continue to exist with respectto the remaining portion's ofthe Building. •
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                                  p au o     Purchase.,     _       o ext 0           refusal    0 trt the
                                 Laridlord                      an;option,to itirchnse!the Premises, which
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               'one (1),Year'atitematio'imiewit terms thereinafter and terrain* atthe conclusion of this
               ;Lease.'PoiiiMPoiesI of Clarity,the.,.Pkielsase option granted toTenantshall emam in
                force during all renewal terms ofthe I.C.a;se. This option my he exercised at any time by
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               ,Taigitlexereisi thisliumbase`riptlrA,tre7iiiitiesi,Wilt be deemed(Okte-Ot0* into IS,0-•
                follOwing aireenient(die"Aireemenr)on the date ofthe notice: *                  -
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                tiTy;the, parties, Vilth any Tentim.,ImprovementsNailed lies,Proitidecil,)14*,If the parties.
               -nann_n_c ng-ine7i they shall choose aecttiAid real estate aiipiurser and the two appraisers so
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                 ailment fair =Ad value of the'Premises using theIales-Cainiarisen-ip           -PrOach,- with
                    rrarit Improvements veined as provided Wok the higlieSeinkletVeit4Pfalsal to be
              *     Fwd.and thepuianteepiiiiito lietheadoinit<Ofthe Middle apPraisal.Each party
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                -pay:tie Ibes -pf,the appraitei          . and
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                 third:
                Value ofImprovements: Tenant may make certain improvements after the execution of
                this lease- with improvements being defined as substantial changes to the building, i.e.
                new.•roof, new HVAC, additions the Property, etc. but not just ordinary
                repafrthnainteusne Furthermore, if improvement is being made due to fault of Tenant _
              ' of its occupants, then no value shall be assigned to that improvement,*eretideCt
                into outside compressor and requires it to be*liked:-     _1andlordE1fl          in on obi-
          -   . iicord:61 '04 hnpreveniehis to gie Proiierty,a0crkOiiid& the           —                    -      r.4‘11,d
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                inide so thit        can discuss classification at that time(improvement Versus repair).
                lithe parties can agree upon a value for the Property, the value assigned the
                improvements shall also be part of that agreement, but with the general understanding
                and intent being that improvements will be valued based on a 10 years life, with straight
                line depreciation over that 10 year period.

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                        142 :Pityerierit of Price. The mtiiiiiptitaiSe Pfiee shall be paid in cash at
                closing unless the parties Mutually agree upon   tTetlis. atthat time.

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                      14.3. Title Insurance. Landlord shall furnish to Tenant a commitment for an
               Owner's policy of title insurance In the amount of the purchase price from a title
               Insurance company authorized to issue title insurance policies in the state in which the
               Premises are located. Delivery ofa commitmentfor such a policy will be made to Tenant
               within twenty five days of the date the parties are deemed to have entered into this
               Agreement the insurance policy itself to be issued at Landlord's expense following the
               recording ofthe deed, Tenant shall have ten(10)days after delivery ofthe commitment
               to examine it and to advise Landlord in writing of any exceptions which =reasonably
               objectionable to TetOOM In the absence of such a notice„ title will conclusively be
               presumed to be satisfactory to Tenant Landlord shaft have until the closing date to
               correct any objections to title and have them shown on a revised tide insurance
               commitment. IfLandlord is receiving a mortgage or dond oftrust at closing, Tenantshall
               provide at its expense a loan policy oftitle insurance.
                       14.4. Casualty Damage. If prior to the closing date the buildings and
               Improvements situated on the Premises are destroyed or substantially damaged by fire,
               lightning or other cause that could, be covered by extended coverage insurance, Tenant
               shall purchase the Premises under this Agreement, but shall be entitled to receive at
               closing either(a) all the insurance proceeds, or(b)an assignment ofLandlord's right to
               receive the insurance proceeds.
                       14.5. Closing. The closing of this transaction shall take place two months after
               the date of this Agreement at 10:00 A.M. in the office of the title insurance company
               Issuing the tide insurance commitment, or at such other place or time as the parties may
               agree, At closing, Ltmdlord shalt deliver to Tenant an executed deed conveying the
               Premisesto Tenant and Tenantshall deliver to landlord the cash, news,mortgage,deed
               oftrust, or other documents evidencing its satisfaction ofthe purchase price. Tenant shall
               pay all closing costs except for the owner's title insurance policy premium.
                      15. Inspection. Landlord and its agents may enter the Premises at reasonable
              hours to examine the same and do anything required ofLandlord by this Lease. During
              the last 120 days of the Lease term, Landlord may display a "For Rent" sign on the
              Premises,and show the Premises to prospective tenants.
                       16. Tenant's Personalty. Landlord shall not be liable for any loss or damage
               to any of Tenant's merchandise, personalty or other Premises on or about the Premises
               regardless of the cause ofthe loss or damage. Tenant shall be responsible for any taxes
               Or assessments made against such Premises, and shall defend and indemnify Landlord
               against the same.
                      17. Eminent Domain. Ifany part ofthe Building is taken under the power of
              eminent domain, conveyed in lieu ofcondemnation, or acquired for any public or quasi-
              public use, this Lease may be terminated by Landlord,at its sole option. Landlord shall
              be entitled to all award Of compensation without apportionment Tenant shall have no
              claim against Landlord for the value ofany unexpired term ofthis Lease.
                        18.   Damage By Casualty.
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                             18.1. Total Untenantabillty. If a substantial part of the Premises is so
             damaged by fire or other casualty that the Premises we totally untenantable, Landlord
             may at its sole option terminate this Lease. Ifthe Lease is so canceled,rent shall be paid
             only to the date of cancellation and Tenant shall immediately surrender Premises to
             Landlord. If Landlord does not elect to terminate this Lease in case of total
             untenantability, this Lease shall continue in full force and effect and Landlord shall
             restore the Premises to at least their previous condition, within a reasonable time. For
             that purpose, Landlord and its agents and contractors may enter the Premises. Rent shall
             abate during the period of untenantability. Landlord shall be entitled to all insurance
             proceeds,including any proceeds from Tenant's insurance policies to the extent the same
             cover Building fixtures, equipment,systems and materials that need to be replaced as part
             ofthe repair ofthe Building.

                             18.2. Partial Untenantability. If the Premises are so damaged by fire
             or other casualty that tenantabiltty is only partially disturbed, this Lease shall not
             terminate and Landlord shall restore the Premises to at least their previous condition
             within a reasonable time. For that purpose, Landlord and its agents may enter the
             Premises, and rent shall abate in proportion and duration equal to the partial
             untenantability of the Premises. For this purpose, Landlord shall determine the
             proportion and duration of the partial untenantability, and its determination shall be
             binding upon both parties. No claims shall be made by or allowed to Tenant by reason of
             any inconvenience or annoyance arising from the repair work. Landlord shall be entitled
             to all insurance proceeds,including any proceeds from Tenant's insurance policies to the
             extent the same cover Building fixtures,equipment,systems and materials that need to be
             replaced as part ofthe repair ofthe Premises.
                            18.3. Removal of Rubbish and Property. In the event the Premises
             suffer any casualty damage, Tenant shall within ten days remove any debris or rubbish,
             remove its personal Premises from the damaged Premises, and clean the damaged
             Premises to facilitate repair or restoring operations.
                     19. Default By Landlord. Tenant shall give Landlord written notice of any
             default by Landlord. If(a)the default is not cured within thirty (30)days after Landlord
             receives the written notice, or (b) Landlord does not within that thirty (30)-day time
             period take actions which, if continued with reasonable diligence, will cure the default,
             then Tenant at its election may,declare this Lease terminated after an additional period of
             thirty &Yd., 'If this.:Leaseis,iightftilly terminated •in ccordancc with this section, Oat'
             shall be paid only,to the end of the second',thirty,(30)-day peripd. TR:414t:*ITO*
             sólc1 to'UtiOiirs.6141.4? in tire Premises f9P-Satisfacti.O? ofany remedies ofTen*     :tn
             the eventofLandlord's breach.
                     20.    Default By Tenant.

                           20.1. Events of Default. Tenant will be in default under this Lease
             upon the happening ofany one or more ofthe following events:


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                                        (a) .railutecifTeriant,to timelyr:rnalce any rFt payment Within
                                 ten (10) days '2114 ithificitteit bi.iLiadtaicvor.,to. fuIlyprform.any,.•
                                 obligation contained in thilLease. "

                                        •,(b)             -ginti, rer ciitalioñ or statement -7made or•
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                                        (c) Tenant:Ji;riissrAved' or Its. exiiiiineel t ginated;„ Tenant
                                 becomes insolvent, its business MI,or a iccei•fieris Opoldied for any of
                                 Tenant's Premises; Tenant is generally not paying its debts:as they
                                 become due; or Tenant makes an assignmentfor the benefit ofits creditors
                                 or is the subject of any voluntary or involuntary bankruptcy or insolvency
                                 proceeding.
                                      (d) Any or:,the',occyrcencers set frith inithis,seCtion17above
                                 occurs with respect'to any Oaatemp?
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             (. T*Meshallibe:     liablefor         and shall pay to Landlord any loss oidep.aiarioTs    - trital4d*:
                 Landlord bicanse       - ofTenant's-default.
                               20.3. Reletting Premises. Notwithstanding Landlord's re-entry and
              *Sa4ilOn             Profs*,                            Oat*         havTethkrightWitbritir,„
             )  lotlaatri Tenant, adwlthotiitirininatinñ this Leäse,,to Snake alterations and repairs for.
               the jiLlzpile efitictriitthe Premises. tLandlord may telefOr attempt tti-,igiet'ibe Premises
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              4.reletibePreMises,:and,any.retelling Shill be *are.* Landlord itagent for.Tennnt. Tn
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Case 5:21-cv-00007-TTC-JCH Document 1-1 Filed 01/29/21 Page 47 of 92 Pageid#: 51




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               default shall‘be'eortstMeti air iridicatinj a termination of this Lease..
               remain in ftd1 force and effect and shall not be terminated unless Landlord so elects in
               writing.

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         Tennoi by exiendiniiienti,7*tracting for,the Making ofrepansiptrrchasing insurance,
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         upon déniarid reimburse Landlord for airofundt9tvi expensei. All snelieriknaes Shall
         hair interei_tlioni*'derea•theii;frie incurred until the dates.they,are'..paid;,at an annual
         rale equal to the rate'Setforth in Section 3.2 abOirej.-
                             20.6. Costs and Expenses. Landlord shall be entitled to recover from
               Tenant all of .LiuttUotd's;eih       in cervisi iny of its right; under this Lease,
               including without limitation Landlord's        •44-a7n4 expensns
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               and may be exercisecriqkcisiii,
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               of any nature In any proceedings broght in connection with this LeaS_C, Thii.4Mettient •
               shall natAoweifer;,prohibit the'ziensitriticke-id Xny:Claint Lilariparate iatinit; Tenant'.•
               waives any rights it May have to redeem the Premises from any re-entry andlosseision
               by Landlord. Any breaches of any covenants of this Lease shall be material breaches
               entitling Landlord to its remedies,regardless ofthe extent ofactual damage.
                      21. Waivers. Any waiver, consent or approval on the part of Landlord must
               be in writing, and shall be effective only to the extent specifically set forth in the writing.
               No delay or omission by Landlord in the exercise of any right or remedy with respect to
               any one occasion shall impair Landlord's ability to exercise the right or remedy in the
               same or on another occasion.
                       22. Notices. All notices or other communications shall be in writing signed
               by the sender, and shall either be(a)personally delivered or(b)mailed by certified mail,
               at or to the following addresses:
               Landlord:      New Lifestyles,Inc.
                              do Kenneth L.Cuave,President
                              P.O.Box 64
                              Winchester,VA 22604
                             (540)722 :4521,
                              arkkiav   ewlifestvieilet


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Case 5:21-cv-00007-TTC-JCH Document 1-1 Filed 01/29/21 Page 48 of 92 Pageid#: 52




                Copy To:       William A.Tmban,Jr.
                               Owen and Truban,PLC
                               P.O. Box 267
                               Winchester, VA 22604
                              (540)678-0995
                               btrttbangr owentrubameont

               Tenant:         CALO Young Adult- Winchester,LLC
                               P.O.Box 1810
                               Lake Ozark, Missouri 65049

               Either party may change the address by written notice to the other. Notices shall be
               effective when received (if personally delivered) or when deposited in the United States
               Mail (if mailed by certified mail), or if sent via email, upon receipt of a reply email
               confirmingsuch noticeltas been received.
                       23.     Return ofPremises.
                               23.1. Condition of Premises. At the termination of this Lease, Tenant
               ogees to deliver to Landlord the Premises and all mechanical systems and all equipment
               arid fixtures thereon in good working order and condition.
                              23.2. Holdover Tenancy. Should Tenant fail to vacate the Premises at
              the termination ofthis Lease, Tenant shall pay for each day ofthe holdover period either
              (a)twice the then-applicable rent, or(b)a current fair marketrent for the Premises(as
              determined by Landlord in its sole judgment), whichever is higher. All the terms and
              provisions ofthis Lease shall continue to apply. Tenant will be a tenant at will during the
              holdover period. Nothing in this section shall be a waiver ofor preclude the exercise of
              Landlord's remedies for Tenant's default.. Should Tenant's holdover prevent Landlord
              from flalfilling the terms ofanother Lease, Tenant shall dellind and indemnifY Landlord
              from all direct and consequential damages for which Landlord may be liable., or which
              Landlord may suffer,as a result thereof.
                       24. Quiet Enjoyment. Neither Landlord nor Landlord's successors or assigns
               will disturb Tenantin its quiet enjoyment ofthe Premises.
                      25, Indemnity. Tenant shall Indemnify, defend,and bold harmless Landlord
               front and against any and alt damage, expense, claim, liability Or loss including
               namable attorneys' fees arising out of or in any way connected to any condition
               occurring on.thisPremises or arising outofany use ofthe Premises during the term ofthis
               Lease. This duty to indemnify and defend shall include but shall not be limited to
               damages, costs, liability,loss and expanse including professional consultant,engineering
               or attorneys' Ores incurred in responding to thderal, Oat*,or local laws,strict liability, or
               common taw. Tenant shall ensure that its liability insurance policy covens its obligations
               under this indemnity agreement


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Case 5:21-cv-00007-TTC-JCH Document 1-1 Filed 01/29/21 Page 49 of 92 Pageid#: 53




                      26. ::Waiver Ot,SithilOgifiliinotiiiidlOrdanillethirieO- ckie,s:
              rights of recovery against the OtiieT and the other's agents:,(Cnipiqies,'::POrtnittedlidertia
              and assignees,for any loss or damage to Premises or injury to or death ofliFsols,To.the
            • eitig'tbeA* is covered or104044tit,PiOcee41*.imt,1601040 policywhich1‘.
              citlir Of thep rtieihcreündèr iiicqüircdto catrY, undir,the iscrins:Uthis.Lease(whither
              or not such                                           ":11thininiit,*610), 'or -ibr which
              reimbursement is otherwisireaeived. This rigfeeriient, hoWeier,111111 apply% only so long
            • as the parties' respective insurance companies expressly concur in this agreement and
              waive all subrogation rights. Each party shall have a continuing obligation to notify the
              other patty if these waivers are not granted. Nothing in this section shall impose any
              greater liability upon the Landlord than would have existed in the absence of this section.
              The parties specifically recognize and acknowledge that the waivers contained herein are
              and shall be effective even though such claims may arise as a result ofthe negligence of
              the party being released hereunder,or such party's agents, officers or employees.

                    27. Atturnment Tenant agrees to and does attom to any successor to
             Landlord's interest in all or any part of the Premises, including without limitation any
             purchaser at any foreclosure sale of all or any part ofthe Premises.

                    28. Owner. Owner joins in this lease and agrees that so long as Landlord is
             renting the above Property to Tenant, Owner will lease the same to Landlord.
             Furthermore,if Tenant exercises any rights under Sections 13(Right ofFirst Refusal)and
             14(Option), above, Owner agrees to be bound by the terms and conditions ofthis lease
             so as to convey such Property under such terms (just as if Owner were the Landlord
             hereunder). Owner warrants and represents it is owned 100% by Kenneth Cuave.
                    29. Successors and Assigns. This Lease shall inure to the benefit of and be
             binding upon the heirs, estates, executors, administrators, receivers, custodians,
             successors and (in the case ofTenant,permitted)assigns ofthe respective parties.

                   29. Memorandum ofLease. Neither this Lease nor any memorandum or other
             evidence thereofshall be filed ofpublic record by either party.




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Case 5:21-cv-00007-TTC-JCH Document 1-1 Filed 01/29/21 Page 50 of 92 Pageid#: 54




                      INTENDING to be Silly, bound,the.parties lave executed this Lease the day and
               year aboie written.
                                                  NEW.100TYLES,INC.

                                                   Vhitinla=Oration

                                                 13.Y:


               Tenant:                           CALO YOUNG ADULTS — WINCHESTER,LLC
                                                  a Virginia limited liability company

                                                 By'. .
                                                 Print Name
                                                 PrintTitle::

               Owner:
                                                 PROPERTIES OF WINCHESTER,LLC



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Case 5:21-cv-00007-TTC-JCH Document 1-1 Filed 01/29/21 Page 51 of 92 Pageid#: 55




                                                   Exhibit A
                                       Tax Maplofo and Deed For Property




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               DRAFT 1 y19/15 311 PM
Case 5:21-cv-00007-TTC-JCH Document 1-1 Filed 01/29/21 Page 52 of 92 Pageid#: 56




        Renfo Property Information Form                                                           S.664- Is,
       Property Information

               Area WINC         Diet                                   Rec#        3,595.01     Map Id 17241-8- 4

        Description 304 APAHERST STREET

           Address 304 AMHERST ST                                                                     Acres 0.30

        Land Value         140,000                       Z* oning MR                              Else/ Gas Y / Y

         Bldg Value        265,900               Eamt I ROW PAVE!PUBL                          Water I Sewer PUBL I PUBL

        Total Value        406,900                    Character OPEN                    Dead Ref Bk/Pg 13/3503

          Lt1 Value                                   Land Use SFAhl                  Sale Price!Parcels 268,201

        Tax Amount             3,693.69           Occupancy SFAM                                  Sale Date 12/30/2013



       Owner Information

             Name PROPERTIES OF WINCHESTER LLC

           Address P0BOX 64

                      WINCHESTER,VA 22804



       Building Information

         Bldg Sq Ft      3,160              Stories 2                       Units 1                    Year Built 1880

        Rend lig Ft                        Air Cond 19                 Garage /8                       Condition AVG

       Bsmt Fin SF                        FIn3place 2                  Carport It                        Rooms 9

         Basement CELL                         Flue                         Heat FHA                 :Bedrooms 4

       , Foundation BRIX                  Roof Type GABL                    Fuel GAS                   Fu bathe 3

       Walls Ex / In. FRAM /              Roof Mad METL                    Floor COMB                  Hallbathe 1


         The Information contained herein Is deemed reliable but NOT GUARANTEED. The:official city or
         county records must be checked to verily the accuracy ofthis Information.
Case 5:21-cv-00007-TTC-JCH Document 1-1 Filed 01/29/21 Page 53 of 92 Pageid#: 57




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Case 5:21-cv-00007-TTC-JCH Document 1-1 Filed 01/29/21 Page 56 of 92 Pageid#: 60




                                      STANDARD COMMERCIAL LEASE
                  THIS LEASE ("Lease') is made this 20th day of November, 2015, by and
            between NEW LIFESTYLE,INC, a Virginia corporation. (hereinafter "Landlord")
            and CALO YOUNG ADULTS - WINCHESTER,LLC,a Delaware limited liability
            company (hereinafter "Tenant"), and PROPERTIES OF WINCHESTER,'LC
            ("Owner")
                    I.     Leased Premises. Landlord leases to Tenant, and Tenant leases from
             Landlord, the following described premises and all the improvements situated on the
             premises (hereinafter, in whole or in part, the "Premises"), in the City of Winchester,
             Virginia:

                           Property                   Tax Map          Permitted         Monthly
                                                      Number               Use            Rent
               309 Amherst Street                _   172-01.D-5        Residential       $ 2,500

             See Exhibit A for additional description,of the Premises — with Exhibit "A" attached
             hereto and incorporated herein by this reftrence, with such property hereinafter referred
             to as the"Premises"and the improvements hereinafter referred to as the "Building."

             The Premises include lin:allure and equipment and that is being included in the lease
             hereunder. Such furniture and equipment shall remain the property of The Landlord.
             Tenant shall to/durum such furniture and equipment in good condition end replace the
             Sallie if broken, If Tenant no longer deitta any such furniture and equipmenttoremain
             In the Prenglitt, Tenant than notify Landlorrd, of the same and Landlord shall have 10
             business days to remove the same.

                   2.      Use. The Premises shall be used only for a young adult transitional
            program and associated uses related thereto — with the pennitted use the Premises set
            fin& in Section 1 above, ThePremises shall not be used for any other purpose without
            Landlord's prior written consent. Tenant shall not commit or allow any waste, nuisance,
            or other such let or omission to occur on the Premises,and shall not do any act or allow
            on the Premises any condition which may disturb the quiet enjoyment ofother tenants of
            the Building or those occupying surrounding properties. Tenant shall comply with all
            laws in its usage ofsuch properties and if changes are required to such properties due to
            such use, Tenant shall be responsible for the same.




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             2484970bl


                                                                                             EXHIBIT


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Case 5:21-cv-00007-TTC-JCH Document 1-1 Filed 01/29/21 Page 57 of 92 Pageid#: 61




                        3.      Base Rent.
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               including renewal teirni:* The new Base Renteinnintshill bePayable beginning With the •
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                        4.     Term.
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                years and 41 days, . K. ittritiencing ibleireinber7,20,* 201.5; and:,ending   midnight on -
                December 31,2018. '                       "
                                42. Automatic Renewal If this Lease is in force on the expiration
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                  sanitary sewer, tiliphoie,-cable television, Inland access, trash removal and *al* other
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                          8.      Insurance.
                                    i Fire and .Extended Coverage Landlord shall obtain "au nsk
            : (sonietiines called "open perils"Or.`4special perils") te and extendede0yertiiii:iii*EillCi•
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               amount as Landlord deems sufficient.!Tenifit shisil ebeikiate`i.4th Landlord "SO Mitt*
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                   intincili"*:oi7preas liabIlity" clause 'The policies'shall also ,PrOidde that LandlOrd, be
                 -,giVen.at least                    notice before any cancellation or material modifica&iOn.of:
                   the policy.
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                              8.4. Certificates of Insurance. Tenant shall furnish to Landlord
               certificates ofinsurance evidencing the insurance coverage required by these provisions,
               and providing that Landlord shall receive thirty (30) days' notice of cancellation or
               material change in coverage. Within thirty(30) days after each premium payment date
               Tenant shall Amish Landlord with a copy ofthe premium 601 and evidence ofpayment.
                               8.5. Casualty                                   eirei-e Of Bestial
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                the Premises, and if Landlord is;carryin  ' ilthe'ildskPinieity msurnnc Tenant'shell ,
                immediately report the damage to Landlord and Liiidlaid -alma Make whatever dAli
                against the insurance company that Landlord deems advisable. Tenant shall cooperate in
                connection with the claim and shall be bound by Landlord's actions. In the event of
                either damage to the Premises by casualty or an assertion of liability, and if Tenant is
                carrying the applicable insurance policy. Tenant shall immediately report the same to the
             • applicable insurance'earaParky;sad maks'a claim for.bunter:We proceeds, delivcring to
             • Landlord °a'copy;of,the claim. Laridleid 7rpaybdie!suChlaction as ft deems n&ccssaxy
             • :retarding the claith, and Tenant shall relinbarielandiaid:loi all OfLaridlord'S'costs in
                connection.with Landlord's r action; hicluding without!IlmitatiOn'arjr.i-afteineri fOi
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                       9.      Liens and Encumbrances.
                                 9.1. 4 nbardinitiott.,1This LeaSe.Shall.ge aid hereby is made subject
                and subordinate to an present OK,tufuitIttiontOie4,deeds:pfiriVit„fpd other liens or
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                Tenantin Writiig of Its %retest;and in auch'event Tenant-shill Sind .e_o:jiici ofall'netices..t
                àr communications regarding this Lease`to:.ftra,heilder7ofthelien Or enerinienrice::8ealt,
               adder-shall be entitled to take any action or exercise any righti reseried tLandlord
                under this Lease.
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            i S*0witinle4 days after its Creation Tenant            defend and indetiiitY Landlord from
                 :WV                                    _  ,        _    _                           such'
             "
                              9.3. No Mechanic's.,Liens. This Lease does_ not require Tenant to
                   —va the Prmiscs or conatnict nay improvements er addiiient'nn -the Premises-Any
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                     vcnieiitsor additions to the Premises which Tine& 40Make it -perMitare for .
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            • net lietileimeelf*tir be, the igent       Lindlied:ii,--'41-ontrictiii or arranging -fte any
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                            9.4. Indemnification. Tenant shall promptly pay all bills for labor
             done or material or equipmentsupplied for any construction or repair work done on the
             Premises. Failure to promptly pay any such bills shall be a default under this Lease.
             Tenant shall detlind and Indemnify Landlord from all liability, damages or expense
             resulting from any mechanic's lien claims affecting the Premises.
                     10. Maintenance and Repair. Tenant shall have the obligation of
             maintaining the roof, downspouts, exterior walls and foundation of that portion of the
             Building constituting the Premises, and shall also repair and maintain the general
              building plumbing, heating electrical, air conditioning and ventilation systems and
             equipment which serve the Premises, Including any such systems or equipment located
             outside the Premises but -which exclusively serve the Premises. Tenant shall also
             Maintain in good order and repair all improvements, alterations and additions which
             Tenant may make to the Premises,including any alterations to the Building which were
              made in the installation thereof, including roof and wall penetrations, in addition and
             without limitation, Tenant shall protect water pipes, heating and air conditioning
             equipment, plumbing, fixtures, appliances, and sprinkler opt= serving the Premises
             from becoming frozen or damaged by other than ordinary wear and tear. Tenant shall be
             responsible for all window glass replacement and for maintenance oflight fixtures and
             lamps throughout thePremises. Tenant shall be responsiblefor all cleaning and janitorial
             services within the Premises, and Landlord shall have= responsibility therefbr. Tenant
             shall keep the parking lot adjacent to the Premises and all sidewalks, alleys, walkways
             and.asphalted or concrete areas ofthe Land which serve the Premises clean,sightly, and
             free of mow and rubbish, and shall keep and maintain the same in good condition,
             repairing cracks and potholes and replacing the tohairor concrete when needed.
             Landlord shall have no responsibility for' any repairs/improvements unless such damage
             is caused by Landlord.
                      11.   TenantImprovements and Alterations.
                              11.1. Tenant's Rights. At its sole expense, Tenant may, but is not
             required to, make improvements, alterations or additions to the Premises, subject to
             Landlord's prior approval, which dal' not be unreasonably withheld. Any
             improvements, alterations or additions shall be ofgood workmanship and material and
             shall not reduce the size or strength of the then existing improvements or of any load
             beating wall or structural support Landlord makes no =presentation or warranty
             concerning whether any such work Is permitted by the applicable taws,ordinaness,rules
             and regulations of any applicable governmental authority. Tenant agrees to obtain all
             necessary consents, licenses, approvals, and authorizations of any such governmental
             authorities or utility providers prior to undertaking any such work.
                            11.2. Payment ofCosts; indemnity. Tenent shall promptly pay all bills
             and expenses resulting from any such improvements, alterations or additions. Tenant
             shall defend and indemnify Landlord and its managers and agents from and against any
             and all claims, losses, costs, expenses, and liabilities arising as a result of or in
             connection with any work done on or related to the Premises, including any claims for
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              ▪ damage or injtyyt and- any mechanic's aliab*:,....Tenank.,ainiu.44,1y,04y andsatiefy*y
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                result of any of Tenant's work.'        -                    -     '

              ▪ alterations, additions.14%-fnctaio,alia.041 on the Premises                    ,not permanently
                 affixed to the Premises, alia4 become-a part of the realty, shall bitani t4'2,14411413/4.4
                 shall remain on and be surrendered with the Premises at the tcmunanon of this Leae
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               •-Landlord ma ecify. Tenant shall repair all tiaiii0P*4 bi,an-Yitmov4I'40"4
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                         12.     Assignment or Sublease.
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                  Landlord's prior iAiritteir COO.Seig which                           unreasonably withheld or
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              offers. IfLandlord sells or leases the Building or portion thereof after Tenant's election
              not to musrcise- this tight,then the sale(if the transaction is a sale)shall be subject to this
              Lease. If Landlord !uses only a portion ofthe Buildin& then this right offirst ;thud
              shaft continue to exist with respectto the remaininsportionsofthe Building,
                   14.      Option to Purchase. In addition to the rightoffirst refusal setforth in the
             above section, Landlord grants to Tenant an option to purchase the Premises, which
             option shall commence,at the expiratio* of the Initial Term and at the beginning Ofthe
             one(I) year automatic renewal terms thereinafter,and terminate at the conclusion ofthis
             tease,Far purposes of clarity, the purchase option grunted to Tenant shall remain in
             force during all renewal terms ofthe Lease. This option nay be exercised at any time by
             Tenant upon. giving Landlord a written notice in accordance with Section 22. Should
             Tenant exercise this purchase option,the parties will he deemed to have entered into the
             following agreement(the"Agreement')on The date otthe notice;
                     14.1 Price. The purchase price ofthe Premises shall be an amountagreed upon
             by the parties, with any TenantImprovements valued in as provided below.Ifthe poles
             catulotagree,they shall choose a certified real estate appraiser and the two appraisers so
             chosen shall selectathird, and the three shall conduct independent appraisals Ofthe then
             current fair market value of the Premises using the sales comparison approach, with
             Tenant Improvesnents valued as provided below,the highest and lowest appraisal to be
             rejected and the purchase price to baths amount ofthe middle appraisal.Each party shall
             Pay the fees of the acluniser It select% and the two shall equally ilare the fees of the
             third.
              Value ofImprovements: Tenant may make certain improvements after the execution of
              this lease — with improvements being defined as substantial changes to the building, i.e.
              new roof, new HVAC. additions the Property, etc. but not just ordinary
             repairsimaintenance. Furthermore, if improvement is being made due to fault of Tenant
              ofits occupants, then no value shalt be assigned to that improvement, e.g. resident runs
              into outside compressor and requires it to be replaced. 4dlefd l1icp an o oin
             _mod ofmy Improvements to the Property and provide the                                  "
                                                                                            prior:o be  'r Lar,l.Iva
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              As provided above,  --gradlefd shall also notify           a any Improvements
              tnt_tll1,to i  csuestt can discuss classification at that time(improvement versus repair).
              If the parties can agree upon a value for the Property, the value assigned the
              Improvements shall also be part of that agreement, but with the general understanding
              and intent being that improvements will be valued based on a 10 years life, with straight
              line depreciation over that 10 year period.
              If-the-Property is to be appraised, the appraisers will be given a list ofthe improvements
              as asked to factor In a with and without valuation, and such improvements shall be valued
              accordingly and the purchase price shall be the "withoutimprovement valuation."
                     14.2 Payment of Price. The entire purchase price shall be paid in cash at
              closing unless the parties mutually agree upon other terms at that time.

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                          14.3.', Title Insurance. Landlord shall finish to Tenant e commitment for an
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                 Agrceinent, theinsurance policy itself to be issuedii 14-nOldrd .0.„cii,e.11sit?116.12.B'*6•
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             '• ObjectiOeibie to Tenant:lnihe. absence OfIsitcb:'a noitiee?-,title-Willi.to"neit*VelY •be
               1 presumed to be satisfactory to Tenant Landlord shall haw. intik,the,ClOsingidate"to
              ;‘0er Attlx‘ohjeationi;n:title and •ihity-e .tliern;shown:On: a rnyi:Inii           insurance
              • eieriiitreent:If Landlord is MeedVintiinairgige orIccd of t it closing, Tenant shall
                 provide at its expense aloan POlieY Oftitle insurance. '     '
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                inftrovapients'situited`onlie PreiniseS are destroyed or subsist:0141y damaged by ftfe;.
                lightning or other,aue thitelOnitlfie *Wired,hy:•tnitende-C-Caieragellsstuithi.i;.lenant „
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                      .4        Chishig.',TheTelOSing ofthia,,transaction,Shall'take Race two months after-
              ^.the'diiie.Of,this Agreement, at 30:00 A'14.•la:the oflice of the title insurance einePani,
                issuing the title insurance commitmenç OT ifsuch iithei place or thné is th1pa1ttOs may. F
                agree. At,00iiiir,e14ndloid shall deliyer7t6 Teuiiitih este-on-tad          'cohireirnethe
              .Pienitei'tiittltant, end TenantIlion 4c11ver to Landlord'the C m otes, mortgage,000'
               oftriiit,OiOtheldOcUments evidencing iiliatiafsetkiiefthe lier    - chase-idea.Talent Shall
                pay all closing costs exceptfor the owner's title insurance policy premium.
                       15     InspectIon Landlord and.its agent may enter the*Preitis4 at reasonable
               hours teakerilne the same and do anything'reiluirO,of Landlord by'this Lode During
               the last 120-ditYi -of the Lease term;Landlord may display a "For Reit" sign`lid the
               Premises,and show the Premises to prospective tenants.
                   , 16.. Tenant's Personally. Landlord shall net he liablefer any loss or damage
              to anyofTensit'S.Meiehaidise,.personalty or ether Premises on o it/Joui the Premises '
              tigeidlesi Of,the.cause Ofthe loss Or damae.:Tenant'sliall liiiesiionsibleiloi shy taxes
             ,or assessments made -agains,t       Pienti,nsts;incl'ahall!dotard 'and hulefoniti,Landlord
              agithist the-sine:-                                                                    ,

               - • 17. Eminent Domain. Ifany part ofthe Building is taken under the power of
             eminent domain,conveyed in Ilan ofcondemnation, or acquired for any,public or quasi        :
                             Piakeniaibe terminated by Limllottf;etits Bole 4011...;',..1.4=-1'd1cid shall
            'be entitled to all tikstd at,c mp étio without apOrtionment Tcndátchallbaveno,
             oh:din*ink Lindloid for the-Sahli ofany unesPired tenit ofthis Lease
                           18.   Damage By Casualty.
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                             18.1. Total liintenantability. If a substantial part ofthe Premises is so
             damaged by fire or other casualty that the Premises are totally untenantable, Landlord
             may atits sole option terminate this Lease. Ifthe Lease is so canceled,rent shall be paid
             only to the date ofcancellation and Tenant shall immediately amender Premises to
             Landlord. If Landlord does not elect to terminate this Lease in case of total
             untertantability, this Lease shall continue in full force and affect and Landlord shall
             restore the Premises to at least their previous conditions Within a reasonable time. For
             that purpose,Landlord and its agents and eontractors may eater the Premises. Bent shall
             abate during the period of untenantability. Landlord shall be entitled to all insurance
             proceed;Including any proceeds from Tenant's 1.12sitanQO policies to the extentthe same
             env"Building &fine;equipment,systems and materials that need to be replaced as part
             ofthe repair ofthe Building.
                            18.2. Partial Ilmenantability. lithe Premises are so damaged by fire
             or other casualty that tenantability is only partially disturbed, this Lease shall not
             terminate and Landlord shall restore the Premises to at least their previous condition
             within a reasonable time. For that purpose, Landlord and its agents may enter the
             Premises, and rent shall abate in proportion and duration equal to the partial
             untenantability of the Premises. For this purpose, landlord shall determine the
             proportion and duration of the partial untenantability, and its determination shaft be
             binding upon both parties. No claims shall be made by or allowed to Tenant by reason of
             any inconvenience or annoyance arising from the repair work. Landlord shall be =titled
             to allinsurance proceed;including any proceeds from Tenant's insurance policies to the
             extent the tame cover Building femme;equipment,systemsend materials that need to be
             teplaced as partoftherepair ofthe Premises.
                            18.3. Removal of Rubbish and Property. In the event the Premises
             suffer any casualty damage, Tenant shall within ten days remove any debris or rubbish,
             remove its personal Premises from the damaged Premises, end clean the damaged
             Premises to facilitate repair outstaring operations,
                     19, Default By Landlord. Tenant shall give Landlord written notice ofany
             default by Landlord. If(a)the default is notcured within(bitty (30)clays after Landlord
             reCeiVC3 the written notice, or (b) Landlord does not within that thirty (30).day time
             period take actions wide!), if continued with reasonable diligence, will cure the default,
             then UMW atits election may declare this Lease terminated after an additional period of
             thirty days. If this Lease is tightftilly terminated in accordance with this section, rent
             shall be paid only to the end of the second thirty (30)-day period. Tenant shalt look
             solely to Landlord's equity in the Premises for satisfaction of any remedies of Tenant in
             the event ofLandlord's breach.
              •
              •



                    20.     Default By Tenant.
                           20.1. Evenb of Default. Tenant will be in default under this Lease
             upon the happening ofany one or more ofthe following events:


                                                       -9-
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Case 5:21-cv-00007-TTC-JCH Document 1-1 Filed 01/29/21 Page 65 of 92 Pageid#: 69




                                     (a)     Failure of Tenant to timely melte any rent payment within
                              ten (10) days after notification by Landlord or to fully perform any
                              obligation contained in this Lease.

                                    (b) Any warranty, representation or autieteent made or
                              furnished to Landlord by or on behalf of Tenant for the purpose of
                              inducing the execution of this Lease, or any other agreement between the
                              parties proves to have been false in any material respect when made or
                              furnished.
                                    (c) Tenant is dissolved or its existence terminated; Tenant
                              becomes insolvent, its business fails, or a receiver is appointed for any of
                              Tenant's Premises; Tenant is generally net paying its debts as they
                              become due;or Tenant makesan assignmentforth* benefitofits creditors
                              aria the subject ofany -voluntary or involuntary bankruptcy or insolvency
                              proceeding.
                                   (d) Any of the occurrences set forth in this section above
                              occurs with respectto any guarantor or surety ofTenant's obligations.
                                    (e) Tenant abandons the Premises, or the Premises or Tenant's
                              leasehold interest in the Premises are attached or taken under any court
                              order or writ ofexecution.
                            20.2. Rights ofLandlord. IfTenant defaults,Landlord may re-enter the
              Premises and take possession of the Premises, with or without force or legal process, and
              without notice or demand. The service of notice, demand and legal process arc waived
              by Tenant. Upon Its entry, Landlord may prevent Tenant's entry upon the Premises,
              without being liable to Meant far any damages or for prosecution. Without limitation,
              Landlord may enforce its rights by an action for rent and possession, unlawful detainer,
              or other legal remedy. Tenant agrees that, notwithstanding Landlord's re-entry and
              possession of the Premis" es, Tenant shall remain liable for and shall pay Landlord an
              amount equal to the entire rent payable to the end of the then-applicable term of this
              Lease. Ibis amount may either (i) be accelerated and become payable at once, or
              (it)become due and be payable mantbly. at the sole option of Landlord. In addition,
              Unmet stun be liable for and shall pay to Landlord any loss or deficiency sustained by
              Landlord because ofTenant's default.
                              20.3. Reletting Premise; Notwithstanding Landlord's re-entry and
                possession ofthe Premise;Landlord upon Tenant's defaultshall have the right, without
              • peer& te Teem*.sad without terminating this Lease, to make alterations and repairs for
                thepurpose ofrelating the ?realises Landlord may inlet or attempt to relat the Premises
                or any prat-ate Premises for the reMainder ofthe then-applicable Lease term or for any
                longer rushed= period as opportunity may ofthr,to such persons and at such rent as may
                be obtained, Nothing in this Lease shall require Landlord to relet or make any attempt to
                mkt the Premises, and any relettiag shall be done by Landlord as agent for Tenant. In
                case the Premises are relee Tenant shall pay the difference between the amount of rent
                                                         - 10-
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Case 5:21-cv-00007-TTC-JCH Document 1-1 Filed 01/29/21 Page 66 of 92 Pageid#: 70




            „'payabindurincg the reniaindei Ofihe iain and the neirent aatua4
               during the term aftefdednOtingill nx0e2iiisAirepnirs;alterations,"redoidring possession..
            A  and rektrki the same Wbieh diffOince                     *rueand be payable monthly,or
              400.be #401einind   and beennii payableitinice;
                                                           ,  ,     Landlord's
                                                                          s •-•sole - • s
                r.

                              20.4. No ,Termination. No actions taken by,Landlord after Tenant's
               default shall bi eimijtrned'iS"indicAtinia teiiiiititicinif.iliii,linii.;"114tani 464'
               remain in full'.foree-'and ,Offen;sandishail
                                                  —         not:be tenninatcd
                                                                   _ Wets                  .so elects'. in,
               writing.
                                20.5. Cure. At Landlord's election, Landlord may cure                 Of
              Tenant b'Y'.  exixOdieg miney,contracting for making ofrePsirs;purchasing insurance,--•
             ..O.r.:;b"y any other iiitio4 If.Landlord takes iijsub actions, Tenaznwill immediately.
               Upon demand reimburse Landlord for-all Often' dletiirsi*usesi All'stiCh-exmseishalir
                                                                                - ire• plict,
            • bear WO:it:front the d.atea*t}i4 to* irtOrred Until"jhe'dates they.         .. *
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                                                atidE4PenSes.
                                                            .:Eandlaid tinWt.he raidedin ienoVer- frOm
               Tenant all of Lad1ord's expenses ui' cxcreismg1 any of rts right*.*der this Lease,
           •.  including                                 attorney's fees aniii0entet;
                             20.7. titeate4B
                                         - eit:cnizintattve; All ofLandlord' rëiiedies are cumulative,
                and may be exertisedSVearisivelk or eOfien#eritlY,at Le
                                                                     '  adurdtiele#i*
                             ,20.8. No Counterclaims. Tenant agrees not to make any counterclaim
              of any.natuze in any Proceedings,brought In Connection with this Leasi.;Tbis,iiicntent
              shall not, however,-prohibitthe maintenance Of any claim l.a i sepaintnattion.'Ten*
              waives any rights it may have.to redeem the Piendses"froeiany re- try and painnAnli
             lifltinOlordt,:7 Any,l,reaches ,of•any..e.ovenanitref thii,tesin: Shill• be material bieaohest
              entithngtnndlcrd itsremedies,rngaiiiesiOftheextent-oflenial damage.
                     • 21. Waivers. Any waiver, Demand or approval on the part of Landlord must
                be in writing,and ba1l bC effbative„Only,td'the Ottont,spe#6a* set forth in the
                No deliiiiiromisSion by LandlOrdintbe,exitnisi'orany rig* or rem7ediivitiiiiipect to
                any One oèemionshall impair Landlord's abilifkito:eiterOsathe righter re-104.k the.
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                same or on another occasion.
                       2 Noticu. n*ticl$oxotlwr imninilainntitinn'5hail4ii in
                by the sender,andshall either be(a)personally delivered or(b)raided by certified
                      .4
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                ato  tO thOPAIONVintaddIVSea:   ”     •




                Landlord—flew Lifestyles, be.
                           c/o Kenneth L Cuave,President
                          P.O.Box 64
                           Winchester,VA 22604
                         (540)7227.4521
                         i dittilaVianeWiffe inne't:


                2449701,1
Case 5:21-cv-00007-TTC-JCH Document 1-1 Filed 01/29/21 Page 67 of 92 Pageid#: 71




                    Copy To:       William A.Trnbtm,Jr.
                                   Owen and Dublin,PLC
                                   P.O.Box 267
                                   Vfmchester, VA 22604
                                  (540)6784995
                                   btrubardowentruban.cem

                   Tenant:        CALO Young Adult - Winchester,LLC
                                  P.O.Box 1810
                                  Lake Ozark,Missouri 65049

                   Either party may change the address by written notice to the other. Notices shalt be
                   effttiva when received (if parsimony delivered) or when deposited in the United States
                   Mail (if mailed by certified mail), ix. if sent via emaii, upon receipt of a reply entail
                   confirming such notice has been received.
                            23.    Return ofPremises.
                                  23.1. Condition of Premises. At the termination of this Lease, Tenant
                   agrees to deliVer to Landlord the Premises and all mechanical systems and all equipment
                   and fixturesthereon in good working order and condition.
                                  23.2. Holdover Tenancy. Should Tenant fail to vacate the Premises at
                   the termination of this Lease,Tenant shall pay for each day ofthe holdover period either
                  (a)twice the then-applicable rent, or (b)a current ibir market rent for the Premises (as
                   determined by Landlord in its sole judgment), whichever is higher. All the terms and
                   provisions ofthis Lease shall continue to apply. Tenant will bea tenant at will during the
                   holdover period. Nothing in this section shall be a waiver Ofor preclude the exercise of
                   Landlord's remedies for Tenant's default. Should Tenant's holdover prevent Landlord
                   from fulfilling the tams of another LCASes Tenant shall defend and indemnify Landlord
                   from all direct and consequential damages for which Landlord may be liable, or which
                   Landlord may suffer,assresult thereof.
                           24. Quiet Enjoyment. Neither Landlord nor Landlord's successors or assigns
                   will disturb Tenant in its quiet enjoyment ofthe Premises.
                     25. Indemnity. Tenant shall indemnify, defend,and hold harmless Landlord
             from and against any and all damage, expense, claim, liability or loss including
              reasonable attorneys' fees arising out of or in any way connected to any condition
              occurring on thePremises or arising out ofany use ofthe Premises during the term ofthis
       — ---1ea5e7-4his-duty to indemnify and defend shall include but shall not be limited to
              damages,costs, liability, loss and expense Including professional consultant, engineering
              or attorneys' fees incurred In responding to federal,state,or locallaws,strict liability, or
              common law. Tenantshall ensure that its liability insurancepolicy covers its obligations
              under this indemnity agreement


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Case 5:21-cv-00007-TTC-JCH Document 1-1 Filed 01/29/21 Page 68 of 92 Pageid#: 72




                      26.      Waiver ofSubrogation. Landlord and Tenant each respectively waive all
              rights ofrecovery against the other and the other's agents, employees, permitted licenses
              and assignees,for any loss or damage to Premises or injury to or death ofpersons, to the
              extent the same is covered or indemnified by proceeds of any insurance policy which
              either ofthe parties hereunder is required to carry under the terms ofthis Lease(whether
              or not such party is actually maintaining such insurance coverage), or fin which
              reimbursement is otherwise received. This agreement however shall apply only so long
              as the patties' respective insurance companies expressly concur in this agreement and
              waive all subrogation rights. Each party shall have a continuing obligation to notify the
              other party If these waivers are not granted. Nothing in this section shall impose any
              greater liability upon the Landlord than would have existed in the absence ofthis section.
              The parties specifically recognize and acknowledge that the waivers contained herein are
              and shall be effective even though such claims may arise as a result ofthe negligence of
              the party being released hereunder,or such party's agents, officers or employees.
                     27.    Attornment Tenant agrees to and does attom to any successor to
              Landlord's interest in all or any part of the Premises, including withoutlimitation any
              purchaser starry foreclosure sale ofall or any part ofthe Premises.

                     28. Owner. Owner joins in this lease and agrees,that so long as Landlord is
              renting the above Property to Tenant Owner will lease the same to Landlord.
              Furthermore,ifTenant exercises any rights under Sections 13(Right ofFirst Refusal)and
              14(Option), above, Owner awes to be bound by the terms and conditions of this lease
              so as to convey such Property under such terms Oust as if Owner were the Landlord
              hereunder). Owner warrants and represents it is owned 100% by Kenneth Cuave.
                     29. Successors and Maligns. This Lease shall inure to the benefit of and be
              binding upon the heirs, estates, executors, administrators, receivers, custodians,
              successors and(in the case ofTenant,permitted)assigns ofthe respective parties.

                    29. Memorandum ofLease. Neither this Lease nor any memorandum or other
              evidence thereof shall be filed ofpublic record by either party.




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Case 5:21-cv-00007-TTC-JCH Document 1-1 Filed 01/29/21 Page 69 of 92 Pageid#: 73




                     INTENDINGto be fully bound,the parties have executed this Lease the day and
              year above Written.
             Landlord:.                         NEW'14M1.34.0o
                                                a Virginitt,corporation
                                                By                  (1 __
                                                                                       '


                                                CALO YOUNG ADULTS - WINCHESTER,LLC
                                                a Delaware limited liability company
                                                By:
                                                Print Name
                                                Print Tide:

             Owner:
                                               PROPERTIES OF WINCHESTER,LLC


                                               By: •
                                               1(-gnn         *ei Member




                                                     -14.
             .70;Arelvi
Case 5:21-cv-00007-TTC-JCH Document 1-1 Filed 01/29/21 Page 70 of 92 Pageid#: 74




                                                     Exhibit A

                                        'Tax Map Info'and Deed For Property




                                                                              7;4:




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             • 241119701v1
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Case 5:21-cv-00007-TTC-JCH Document 1-1 Filed 01/29/21 Page 71 of 92 Pageid#: 75




        Renfo Property Information Form


       Property Information
                                      ••••..-
               Area WINC          Olst                                        Roo*       1,124.01     Map id 17241.0- 5

        Description 308 AMHERST STREET

            Address 309 AMHERSTST                                                                          Acres 0.17

         Land Value            73,000                         Zoning MR                               Elec/Gas Y/N

         Bldg Value           134,000                 EMIT'I ROW PAVE IPURL                         Water/Sewer PUBL/ PUBL

         Total Value          209,000                       Character RLNG                   Deed Ref Bk /Pg 080002614

           LU Value                                         Land Use 8FAM                  Sale Price I Parcels 114

        Tax Amount              1,901.90                Occupancy SFAM                                 Sale Data 912512008



       Owner information

              Name PROPERTIES OF WINCHESTER LLC

           Address P0BOX 64
                       WINCHESTER,VA 224104



       Building Information

         Bldg Sq Ft       2.164                   Stories, 2                     Units 1                   Year Built 1930

        BsmtSq Ft           826                  Alt Coed Y                  Garage /0                     Condition GOOD

       , Bamt Fin SF                            Fireplace                    Carport19                        Rooms 5

          Basement FULL                             Flue                         Heat HIM                  Bedrooms 3

        Foundation CONC                         RoofType HIP                     Fuel OIL                   Fullbathe 2

       Waite EX / In BRIX I                     Roof Mad SHGL                    Floor WOOD                Hatibeths


         The Information contained herein is deemed reliable but NOT GUARANTEED. The official city or
         county records must be checked to verify the accuracy ofthis information.
Case 5:21-cv-00007-TTC-JCH Document 1-1 Filed 01/29/21 Page 72 of 92 Pageid#: 76




                         010002614                                                  0(1.•        •
                               THIS DEED,made sad dated this2L..day ofSeptember,2008.by and

                         between KENNETH L.CUAVE(also known oftectord u KENNETH

                         CUAVE),hereinaftev called the Chan1o4 and PROPERTIES OF

                         WINCHESTER,LLC,a Virginia limited liability company,hereinafter called

                         the Grantee.

                               WITNESSETH:That fi r and in consideration ofthesum ofTen Dollars,

                         and other valuable considaation,the receiptofwhich is hereby acknowledged.

                        'the Grantor does hereby gentand convey with General Warranty and &elle%

                         Covenants oftide unto the Grantee,in fee simple,the following property:

                               PARCEL ONE: All ?L' iirtaii_      lot Otiensei _filnid.together
                             • width theimprovements           and the app            thereto
                              4elcitilling:14fri4atbY                         as 221 West
                               Iloseavien Streetin the City                Virginias fronting
                               onBeaman Street a distance                store or less, and
                               extei nbckanuthw.rdiyl24               mare or less; AND
                                MING the siman *ice:1j+ -              Kenneth Cum by deed
                               dated Atiguit2$1,';2406;Era      vett e Priolkiets,U.C;n
                                rir inuáid                       ,or        inoiClak's-4
                               Ofrioiof Chardt             ofCity ofVr         .Weak aa
                               InartmlentNo.060003 0.0AX MAP,le0.192.-01.N.6)

                               PARCEL TWO: All e                     titoiparr.el ofbind.
                                àntaiz1Ag2,flL80 14eitio          resit less,improved by
                               dwelling hoestidielgnitid 30             Street,located Ingle
                               northwestinctioe Oftityof                Virgin* and more
                                                                      certain plat of
      01111000V0,              4tit1àenao Lit!;No*
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    10.0000:000
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Case 5:21-cv-00007-TTC-JCH Document 1-1 Filed 01/29/21 Page 73 of 92 Pageid#: 77




                                              0I
                     In the OceofthkC1et oftbs.          Courtfor the City of
                     Winchester,r        in Died      140,atPage S40;and
                     father and more                 bed by Platand itervq of
                     Dove& Astociaies,              10,•1991-recoaded Ind*
                     eforesald Clerk's Mee         Book249,Page 1404;AND
                     BRING the aweteopcity        eyed to Kenneth L.Cueveby.
                     deed dated NoVonber 18,      from Jack S.`Carothers and
                    .P             ththboa              an:cord in the
                     libressid Oak's Om       hist= t No.050005838.
                    (TAX MAP NO.1          1.0.3)

                     PARCE,14111RM •Altofthat=min hind at 369'AmlierA
                     StreetIn Ole'atiofWistlitstertVliglnia,flentin440 feet en
                     AmbastStreet,:noneor leimortending a uniform width
                     southerly Az 180 feet.uteie or lees,to*Intitileyin the ran
                     bounded on thecot biland now orft:trimly OfBuclarei,ol
                     the west by land new or forraerlyofClevengeri AND BEING
                     thesame property conviied to Kenneth Cuave bydeed dated
                     September20,2006,Born Bradford I.Pilix and Caroline IL
                     Pell;husbrind and wife,°fie:x=11A the Clarit's Office oftbe
                     Circtdt Court ofthe Cliy ofWinChester;Virgbila, instrumint
                     No.060004008.(TAX MAP NO.VS:1114,4)
                    PARCEL FOUR:                certain lot or pareel ofland,
                    togai*with all                  and efrp             thereto
                    belongleglybigaid being' at                   • 411 on the
                    Western Side ofSouth                     lathe City of
                    Wineheatea, Virginia.fronting       .dstreeta distimee of50
                    het, more or lee,and         ••        Westward a distanceof
                    110 ibex, more or less; AND              as=RropertY
                    conveyed to Kannuth L.          by deed         December 16,
                    2002,tainLturcaoe O. d Nan,Jr.And I. S.Sullivan,his
                    vett,ofreccad the          a OGIce oftba               irt0fthi
                    city of•WInchester,          as InitrumentNo.02 4849.
                   (TAX MAP NO:            1.4-10)
                     Reference is hereby madam the eforeseld Instruments and the
               attachments and the referamee therein c,ontained, kr a mon particular
Case 5:21-cv-00007-TTC-JCH Document 1-1 Filed 01/29/21 Page 74 of 92 Pageid#: 78




                description ofthe properry hereby conveyed.

                     Tide conveyance is made suirjectto all eastanents,rights ofway mid

               restrictions ofrecord,limy,affecting the subject property.

                     WITNESS thefollowing signature and seal:



                                                                                 0E4)
                                                              UL cuiVvE,


               STATE OF VIRGINIA,
               CITY OF WINCIUISTER,to-wit

                     The foregoing instrument wee enknowledged before me in my City and

               dtbiictii*        -da;aiSepteinber;20011tb$#
                     My CM;nnissian                      31,P. eP9
                                      Expm"113.




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                                                                    PO..RDEkm.
Case 5:21-cv-00007-TTC-JCH Document 1-1 Filed 01/29/21 Page 75 of 92 Pageid#: 79




                                     STANDARD COMMERCIAL LEASE
                   THIS LEASE ("Lease") is made this 20th day of November, 2015, by and
             between NEW LIFESTYLE,INC., a Virginia corporation (hereinafter "Landlord")
             and CALO YOUNG ADUL'rS WINCHESTER,LW,a Delaware limited liability
             company (hereinafter "Tenant"), and CUAVE FAMILY PROPERTIES, LLC
            ("Owner").


                    1.     Leased Premises. Landlord leases to Tenant, and Tenant leases from
             Landlord, the following described premises and all the improvements situated on the
             premises (heminafter, in whole or in part, the "Premises"), in the City of Winchester,
             Virginia:

                          Property                   Tax Map          Permitted         Monthly
                                                     Number              Use             Rent
               230 WestBoscawen Street              172-01-C-1          Office          $ 5,666

            See Exhibit A for additional description of the Premises with Exhibit "A" attached
            hereto and incorporated herein by this reference, with such property hereinafter referred
            to as the"Pretnises" and the improvements hereirudter referred to as the "Building."

            The Premises include furniture and equipment and that is being included in the lease
            hereunder. Such furniture and equipment shall remain the property of the Landlord.
            Tenant shall maintain such furniture and equipment in good condition and replace the
            same if broken. IfTenant no longer desires any such furniture and equipment to remain
            in the Premises, Tenant shall notify Landlord of the same and Landlord shall have 10
            business daysto remove the same.

                    2.     Use. The Premises shall be used only for a young adult transitional
            program and associated uses related thereto — with the permitted use the Premises set
            forth in Section I above. The Premises shall not be used for any other purpose without
            Landlord's prior written consent Tenant shall not commit or allow any waste, nuisance,
            or other such act or omission to occur on the Premises, and shall not do any act or allow
            on the Premises any condition which may disturb the quiet enjoyment of other tenants of
            the Building or those occupying surrounding properties. Tenant shall comply with all
            laws in its usage ofsuch properties and if changes am required to such properties due to
            such use,Tenant shall be responsible for the same.




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                                                                                           EXHIBIT

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Case 5:21-cv-00007-TTC-JCH Document 1-1 Filed 01/29/21 Page 76 of 92 Pageid#: 80




                         3.   Base Rent

                            3.1. Base Rent Amount Tenant agrees to pay as Monthly Base Rent
             for each property in the amounts set forth above, payable in advance on the fifth day of
             each calendar month during the term ofthis Lease.

                - •           3.2. Late Payments. Any rent payments received by Landlord more
               than live..(5)daii!.O,te skill bear A late paymentfee of$100 per property rent that is late,
              ind:`*srestlecifin7the :thltes eylaiedtreentil the dates they are paid, at an annual rate
             feilialia,*(iii,c;r:,egjOe-,:polins-over _0***rate as announced from time to time in The
             t.P1401i:Mie,et;lo*nakitcpmlikia4 iiiit.modifi0 on the first day ofeach and eVerf ãalcidar
              month In the'el4nf,the--elanVijnibliesition Is longer pOlish*then ,I;airit014''eati4
              choose another ierteillAY aFripted andViideli'published prime rate.-
                              '                 •
                              3.3. Annual Increases. The amount of the Base Rent shall be
              increased once each third lease year, as of the first day ofthe first month ofthe Lease
              year, by three percent(3%)over the amount thereoffor the preceding three lease years,
              including renewal terms. The new Base Rent amount shall be payable beginning with the
            .first Month •of the:lease year,:
                                            - Without the(requirement of.  any
                                                                            • 'notice from Landlord
                                                                                               _        to
              Tenan
                     4.       Term.
                         4.1. Initial Lease Term. This Lease shall be for an initial term ofthree
             years and 41 days, commencing November 20, 2015, and ending at midnight on
             December 31,2018.
                            4.2. Automatic Renewal. If this Lease is in force on the expiration
             date of the initial term, and if the Tenant on that date has fully performed all its
             obligations under this Lease, this Lease shall automatically renew for one year tams
             thereinafter. This automatic renewal option shall continue from year to year until
             terminated by written notice from Tenant to Landlord no later than thirty(30)days prior
             to the expiration ofthe then-current term. The same terms which apply during the initial
             term shall apply during the extension.
                    5.      Condition ofPremises. Tenant has inspected and knows the condition of
            the Premises, and accepts the same in their present condition. By its execution of this
            Lease, Tenant acknowledges that Landlord has made no warranties, representations or
            statements whatsoever concerning any condition or matter relating to the Premises,
            including such matters as the income or expenses of the Premises, title to the Premises,
            legal status of the Premises, availability or cost of utilities, or physical condition of the
            Premises or any improvements thereon. Tenant further acknowledges that no agents,
            employees, brokers or other persons are authorized to make any representations or
            warranties for Landlord. Landlord has relied upon these acknowledgments as a material
            inducement to enter into this Lease. Tenant is hereby leasing the Premises "as is" and
            "where is" and agrees that it relies upon no warranties, representations or statements by
            Landlord or any other persons for Landlord in entering into this Lease. Tenant

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                                                          the Premises nothing daiigei usr life, limb,
            'health or p:ttipcity
                               . ", and Tenant                                           any claim to;*
             dat4gcs which it      may have eigitiat Landis*tharniay isefronn any defects in or.about
            16'             .            .      hereof              •
                                                ,Shaltbe responsible for      and 11 uilit3 nd4iiiyi*
             • costs   adoPrnois'es, Including, without limitation, all:Okigeifdigas,-water,electricity,,
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             •u'   tilities Or-similar services Used at or ii ethinecticiiiivith,the PriiiiisiST; '
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              Landlord Or Tenant                     assis:saagel4traltilifrd;Landlord *shall provide
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                                      .#andExtended Coverage.. t LaidiMcLsiiall Chiait","all risk"

            (sometimes called "open peals'or "special perils")fire acid eitCnde4.01611-0,insurance
             on the Building, &chiding' fixtures and non-removable tenant improvements, in such
             amount as Landlord deems sufficient Tenant shall cooperate with Landlord so that the
             lowest insurance rating can be obtained, given the use and condition of the Premises.
             Accordingly, Tenant shall fully cooperate with the insurance carrier in implementing any
             measures or complying with any requirements the carrier may have. All costs of such
             measures or compliance shall be borne by Tenant Ifthe insurance rates published by the
            Insurance Service Office ofthe State of are increased as the result of any activities or
             hazards introduced by Tenant, then Tenant shall pay the incremental cost thereof
             promptly upon demand.

                           8.2. Liability. At its sole cost and expense,Tenant shall purchase and
            maintain commercial general liability insurance on the Premises, including a property
            damage provision, insuring against liability for Injury to persons or property occurring on
            or about the Premises or arising out ofthe ownership, maintenance,use or occupancy of
            the Premises. The insurance shall be in an amount not less than One hellion Dollars
            ($1,000,000)combined single limit per occurrence,and a general policy aggregate of not
            less than Two'Anion Dollars($2,000,000)ifsuch aggregate applies to this policy.
                              8.3. Policy Requirements. All policies of insurance obtained now or
              at any future time by Tenant, shall name Landlord, as well as Tenant,as an insured, by
              means of a separation of insureds clause, sometimes also called a "sevembility of
              insureds" or "cross liability" clause. The policies shall also provide that Landlord be
              given at least thirty(30)days' notice before any cancellation or material modification of
              the policy.
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                            8.4. Certificates of Insurance. Tenant shall furnish to Landlord
             certificates ofinsurance evidencing the lesiva= coverage required by these provisions,
             and providing that Landlord shall receive thirty (0) days' notice of cancellation or
             material change in coverage. Within thirty(30) days after each premium payment date
             Tenant shallfurnish Landlord with acopy ofthe premium bill and evidence ofpayment.
                           ILS. Casualty Damage; Claims. In the event of casualty damage to
            the Premises, and if Landlord is carrying the ali-risk property insurance, Tenant shall
            inunediately ;von the damage to Landlord and Landlord shall make whatever claim
            againsttheinsurance company that Landlord deems advisable. Tenantshall cooperate in
            connection with the claim and shall be bound by Landlord's actions. In the event of
            either damage to the Promises by casualty or an assertion ofliability, and if Tenant is
            carrying the applicable insurance policy, Tenant shalt immediately reportthe same in the
            applicable insurance company and make a claim for insurance proceeds, delivering to
            Landlord a copy of the claim. Landlord may take such action as it deems necessary
            regarding the claim, and Tenant shall reimburse Landlord for all of Landlord's costs in
            connection with Landlord's action, including without limitation any attorney's fees
            expended by Landlord. Any insurance proceeds shall be paid to Landlord and may be
            disbursed as Landlord in its sole discretion deems appropriate.
                     9.     Liens and Encumbrances.
                           9.1. Subordination. This Lease shall be and hereby is made subject
            and subordinate toasty present or figure mortgages, deeds of trust, and ether liens or
            encumbrances executed or consented to by Landlord which de net materially affect
            Tenant's use of the Premises. The holder of any such lien or encumbrance may notify
            Tenant in writing of its interest, and in such event Tenant shall send copies ofall notices
            or communications regarding this Lease to the holder of the lien or encumbrance. Such
            holder shall be entitled to take any action or exercise any rights reserved to Landlord
            under this Lease.
                            9.2. No Further Encumbrance. Tenant shall not encumber or permit
            the encumbrance of Premises or this leasehold estate by any mortgage, deed of trust,
            assignment, collateral assignment, security interest, lien or other charge. If any
            encumbrance to which Landlord has not consented is created or filed ofrecord against the
            Premises or this leasehold estate, Tenant shall discharge or cause the discharge of the
            same within ten days alter its creation. Tenant shall defend and indemnify Landlord from
            all liability, damages and expenses incurred by Landlord which result from any such
            encumbrance.
                            93. No Mechanic's Liens. This Lease does not require Tenant to
             improve the Premises or construct any improvements or additions on the Premises. Any
             Improvements or additions to the Premises which Tenant might make or permit are for
             the sole use of Tenant and will not benefit Landlord's reversion. Tenant is not, and shall
             not be deemed to be, the agent of Landlord in contracting or arranging for any
             improvement ofthe Premises or any construction on the Premises.

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              Landlord shall have'nd responsibility for any repairs/improvements unless such damage
              Is caused by Larlidien*
                       11.     TenantImprovements and Alterations.
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             • improvements,idteutaits àr40010-0,shall!be ofinod:WOrknianship;:and!Material!and
               shall ndt tedacO the size or Strength Ofdievrhin existing IM-pinfinienta or. any tqa7.4:,
             • bearing,,walt:o!'stnictural -o4p9d.. 4.40     - 1ord makes- no nihni-entatioli:Or,Twaitinty
                           iyhetheet  an  such AvOrt is permitted by,the applicable laWS;:fitdiiiinee-wfWaS
               and regulations of any applicable governmental;authority. Tenant agrees to obtain-WI
               necessary consents, licenses, approvals, and authorizations of any such governmental
               authorities or utility providers prior to undertaking any such work.
                             11.2. Payment ofCosts;Indemnity. Tenant shall promptly pay all bills
              and expenses resulting from any such improvements, alterations or additions. Tenant
              shall dothnd and indeamit Landlord and its managers and agents from and against any
              and all claims, losses, costs, expenses, and liabilities arising as a result of or in
              connection with any work done on or related to the Premises, including any claims for
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             damage or injury, and any mechanic's lien claims. Tenant shall fully pay and satisfy any
             meclumic's liens which may befiled against the Building or any portion ofthe Land as 4
             result ofany ofTenant's work.
                             11.3, Ownership of Improvements; Removal. Any impmvements,
             alterations, additions or fixtures placed on the Premises, whether or not permanently
             affixed to the Premises, shall become apart of the realty, sh.aU belong to Landlord,and
             shall remain On and be surrendered with the Premises at the termination of this Lease,
             NO improvements, alterations or additions to the Premises shall be removed without
             Landlord's prior written consent,although upon Landlord's request Tenant shall remove,
             at the termination ofthis Lease,any such improvements, alterations and additions which
             Landlord may specify. Tenant shall repair all damage caused by any removal,including
             any damage caused by wallor roofpenetrations.
                     12.   Assignment or Sublease.
                           12.1. Tenant shall not assign this Lease, sublease the Premises or any
            part thereof, or allow anyone else to use or occupy any part of the Premises without
            Landlord's prior written consent, which consent shall not be unreasonably withheld or
            delayed. The parties agree that,in determining whether to grant consent,Landlord may
            take into consideration the net worth or other creditworthiness of the proposed assignee
            or subtenant,the nature of such party's proposed use of the Premises or portion thereof,
            such party's general business reputation and character, the impact which the proposed
            assignment or sublease would have upon other tenants ofthe Building or the future value
            of the Building,and other such factors, Notwithstanding the above, Tenant shall not be
            required to obtain Landlord's consent in the event that Tenant is sold to a third party or
            Tenantforms a new entity, which is controlled by Tenant or its affiliates. However, no
            assignment/sublease shall in any way telieve Tenant ofits obligations under this lease.
                           12.2. Assignment by Landlord. Landlord may assign this Lease to any
            subsequent purchaser ofthe Building or any other entity owned by Kenneth.Cuave,and
            upon such assignment Landlord shall be released from all rights and obligations under the
            Lease, except for any such rights or obligations accruing and unperformed prior to the
            date ofthe sale.
                    13. Right of First Refusal of Tenant to Purchase Building or Lease
            Additional Space. If at any time during the life of this Lease, including any renewal
            terms, Landlord receives an offer from a third person for the purchase ofthe Building or
            for the leasing ofany portion ofthe Building(other than the Premises)to a party which is
            not a current tenant ofthe Building or a party related to a current tenant ofthe Building,
            and if Landlord desires to accept the offer, then Landlord shall promptly deliver to
            Tenant a copy ofthe offer (if written) or a letter setting forth the terms of the offer (if
            verbal), and Tenant may within fifteen(15)days thereafter elect to purchase or lease the
            Building or portion thereof on the same terms as those set forth in the offer. Should
            Tenant not exercise its right to purchase or lease the Building or portion thereof, and if
            pinrilord does not sell or lease the Building or portion thereof to the third party, then
            Tenant shall continue to have this right of first refusal in connection with subsequent
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               offers. If Landlord sells or leases the Building or portion thereof after Tenant's election
               not to exercise this right, then the sale(ifthe transaction b a sale)shall be subject to this
               tease. If Landlord lentos only a portion of the Building, then this right offirst refusal
               shall continue to exist with respectto the remaining portionsofthe Building.
                     14.      Option to Purchase. In addition to the rightoffirst refine' set forth in the
               above section, Landlord grants to Tenant an option to purchase the Premises, which
               option shall commence at the expiration of the Initial TOM and at the beginning of the
               one(1)year automatic renewal terms thereinafter, and terminate at the conclusion of this
               Lease. For purposes of clarity, the purchase option granted to Tenant shall =MIA in
               force during all renewal terms ofthe Lease. This option may be exercised at any time by
               Tenant upon giving Landlord a written notice in accordance with Section 22. Should
               Tenant exercise this purchase option, the parties will be deemed to have entered into the
               following agreement(the"Agreement")on the date ofthenotice:
                       14.1 Price.The purchase price ofthe Premises shall be an amountagreed upon
               by the patties, with any Tenant Improvements valued in as provided below.lithe pasties
               cannot agree, they shall choose a certified real estate appraiser and the two appraisers so
               chosen shall select a third, and the three shalt conduct independent appraisals ofthetben
               current fair market value of the Premises using the sales comparison approach, with
               Tenant Improvements valued.as provided below, the highest and lowest appraisal to be
               rejected and the purchase price to be the amount ofthe middle appraisal,.Each party shall
               pay the fees of the appraiser it selects, and the two shall equally share the fees of the
               third.
               Value of Improvements: Tenant may make certain improvements after the execution of
               this lease — with improvements being defined as substantial changes to the building, i.e.
               new roof, new trvAc, additions the Property, etc. but not just ordinary
               repairstmainterumee, Furthermore, ifimprovement is being made duet* fault ofTenant loc.n c4"
               ofits occupants, then no value shall be assigned to that 1mproyemen4      resl e
          h_   into outside compressor and requires it to be replaced. - t dinrdsiIfliep an ongoing 444 a
               record ofany improvements to the Property and provide the same to.Tft-•       alTyëar
               As pros•                                                                  pru trteing1.4"):10
                                    -andloW•shall also notify Tenaot-ofnnrImpmvemenS"—Tn).
    r T        madeso that Tenant can discuss classification at thattime(iraprovement versus repair).
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               If the parties can agree upon a value for the Property, the value assigned the
               Improvements shall also be part of that agreement, but with the general understanding
               and intent being that improvements will be valued based on a 10 years life, with straight
               line depreciation over that 10 year period.
               Ifthe Property is to be appraised,the appraisers will be given a list ofthe improvements
               as asked to factor in a with and without valuation,and such improvements shall be valued
               accordingly and the purchase price shall be the"without improvement valuation."
                      14.2 Payment of Price. The entire purchase price shall be paid in cash at
               closing unless the parties mutually agree upon other terms at that time.

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                     14.3. Title Insurance. Landlord shall furnish to Tenant a commitment for an
             owner's policy of title insurance in the amount of the purchase price from a title
             Insurance company authorized to Issue tithe insurance policies in the state in which the
             Premises are located.Delivery ofa cornatitrnentfor such a policy will be made to Tenant
             withht twenty five days of the date the parties am deemed to have entered into this
             Agreement the inSurance policy itselfto be issued at Landlord'sexpense following the
             recording ofthe deed. Tenant shall have ten (10)days after delivety ofthe commitment
             to examine it and to advise Landlord in wtiting ofany exeePtions Which are reasenablY
             objectionable to Tenant In the absence of such a notice, title will conclusively be
             presumed to be satisfactory to Tenant Landlord shall have until the closing date p
             correct any objections to title and have them shown on a revised title insurance
             commitment IfLandlord is receiving a mortgage or deed oftrust at closing, Tenant shall
             provide at its expense a loan policy oftitle insurance.
                    14.4. Casualty Damage. If prior to the closing date the buildings and
            improvements situated on the Premises are destroyed or substantially damaged by fire,
            lightning or other cause that could be covered by extended coverage Insurance, Tenant
            shall purchase the Premises under this Agreement, but shall be entitled to receive at
            closing either(a) all the insurance proceeds, or(b)an assignment of Landlord's right to
            receive the insurance proceeds.
                    14.5. Closing. The closing of this transaction shall take place two months after
            the date of this Agreement, at 10:00 A.M. in the °Mee ofthe title insurance company
            Issuing the title insurance commitment,or at such other place or time as the parties may
            agree. At closing, Landlord shall deliver to Tenant an executed deed conveying the
            Premises to Tenant, and Tenant shall deliver to Landlord the cash, notes, mortgage, deed
            oftrust, or other documents evidencing its satisfaction ofthe purchase price. Tenant shall
            pay all closingcosts exceptfor the owner's title insumncepolicy premium.
                    15. Inspection. Landlord and its agents may enter the Premises at reasonable
            hours to examine the same and do anything required of Landlord by this Lease. During
            the last 120 days of the Lease term, Landlord may display a "For Rent" sign on the
            Premises,and show the Premises to prospective tenants.
                     16. Tenant's Personalty. Landlord shall not be liable for any loss or damage
             to any of Tenant's merchandise, personalty or other Premises on or about the Premises
             regardless ofthe cause of the loss or damage. Tenant shall be responsible for any taxes
             or assessments made against each Premises, and shall defend and indemnify Landlord
             against the same.
                     17. Eminent Domain. Ifany part ofthe Building is taken under the power of
             eminent domain, conveyed in lien ofcondemnation, or acquired for any public or quasi-
             public use,this Lease may be terminated by Landlord, at its sole option. Landlord shall
             be entitled to all award or compensation without apportionment Tenant shall have no
             claim against Landlord for the value ofany unexpired term ofthis Lease.
                      18,   Damage By Casualty.
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                it*TerritUt'at'iti electiOn miy 4-iiia,i7t2Aill.ia4iterminatedift6,aiiadditional period -of
               :thirty.days. If this Leise ii;-..rightfully-40fininatedi4-ateiritinie"with this section, rent
                 shill be paid only to the end of the-second thirty (30).day period. Tenant shall look
                 solely to Landlord's equity in the Premises for satisfaction ofany remedies ofTenant in
                 the event ofLandlord's breach.
                        20.     Default By Tenant.
                              20.1. Events of Default. Tenant will be in default under this Lease
                upon the happening ofany one or more ofthe following events:


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                             obligation contained in tins Lease          -
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                                    (r b)    Any ..wanait0,..                        statement made or
                             furnished in 'Landlord*, by;or on tbehalf,Of Tenant for theiini!p9se of
                             inducing the axe uiio&ofthis Leaiet'Of anyothei afreOrniiii between the
                             parties piniei to have been Alia1444-material rePrfet*Iirifiniide Or
                             furnished.
                                    (c)       Tenant is dissolved or its existence terminated; Tenant
                             becomes insolvent,4 its business fails),or a receiver is alift:Oirded'fci y if •
                             Tenant's'f!remise :Tenant is generally'slot:paying ;its                  !they
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                                                 ay voluntary
                             or is the'sidtieet of              or involuntary bankruptcy orinsolveriCY
                             proceeding.                  -
                                  (d) Any of the occurrences set forth in this section above
                            occurs with respect to any guarantor or surety ofTenant's obligations.

                                  (a) Tenant abandons the Premises, or the Premises or Tenant's
                            leasehold interest in the Premises are attached or taken under any court
                            order or writ ofexecution.
            ,                -.202 Rights diatuiiiiid.:IfTe-**,                           m,ay         the
              Pieta* and take possession of the Premisei;iVith-Oi wñhóiit force or legal process, and
               without notice or demand.The service Of notice, demand andleid cess aiiivaiVed:
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            (ii) baomi due nd be payable monthly, at the               0016ii of eind1ci4 In addition,
            • Tenant Aid be liable' for and shall pitY to'1.4indloid itnY loss or deficiency sustained by
                          —e ofTenants default
             Liu-Winn!berius
                            20.3. Reletting Premises. Notwithstanding Landlord's re-entry and
             possession ofthe Premises, Landlord upon Tenant's default shall have the right, without
             notice to Tense., and without terminating this Lease, to make alterations and repairs fir
             the purpose ofreletting the Premises. Landlord may,relet or attempt to Met the Premises
                                                     .,ir‘der ofthe then-applicable Lease ter* Orfor any
                             th'eP,ciniii for the jeTna
           'longer Or shzterjèdod as xrtünitjr miyoffer,toitOipoSOns nd it such 474as may
             be obtained. Nothing in this LeasiSintlitcoiie Lindlcird to reefer make any attempt to
            iilet:.thel*,riitnisei, and inlieleitine Shall bedone by Landlord as agent for Tenant In
             case the Premises are relit, Tenant shill pal the difference between the amount ofrent
                                                        - 10 -
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Case 5:21-cv-00007-TTC-JCH Document 1-1 Filed 01/29/21 Page 85 of 92 Pageid#: 89




              4.04during t4s-saiiicicier of th terni Ad,the net lintnatunikittaiftal by
            •1104                                                              rec-Miezitig possession
            r   101egili.tiejaiiii; which di4mitieobit"either(I)acâifeand be iiikshle monthly,61
             and:
            (U)be acceleratedand beCiino Payable at OnCe,
                                                        :iiiLtiiidlord'iSole4UitiOrt.";'
                            20.4. No Termination. No actions taken by.Landlord after Tenant's
             default shall be construed as indicating a t&1Iatio& of this Lease, d'hil,Leale shall;
             remain in full force and iffit'and'shall'not be terminated unlititsjAndlord so electsin
             writing.
                             20.5. Cure. At Landlord's                           ;lire.414dcfuJt of,
             Tenant by 14;44n maneY,;Aokb**foithe
             or by any other action . f Landlordtnkrs inysuèh acticitiltq'efris4;*iii*riledial*
             upon &maid  - 'reimburse Landlord for all of-Landlnid10
             bear interest from the dates they are iniiirrid'OMB‘the datel•iiiii,*".itild, it an itintrill
             rate equal to the rate set forth in Section 3.2 aboiie.
               •          -20.6. eaStictired Expanses. Landlord 411111;4;e'entitled to recover from
              Tenant ill of•Landlord's expenses in 'Ciattisirii any of its rights under this • i:eaSi,
            •      bieWitkoit litiritatiOOLithAloid'iiittorrieY'a.rei*and.egpeiises.
                           20.7:• Remedies Ctim   —tilatiiii, All ofLiiidiore,reirieiiiiis are cumulative,
            and may be exercised iiikessarely or ccmciirrèntly, at Lindlird'i election.'
                                                   ••
                           2041. No Counterclaims Tenant agrees not to make antcoirnterclaim
            ;f any,nature'in anyfrOceedingi.froiightin'connection with this Lease. This iimenient
            Will:not; hiiwever;pfohibit theiriaiiitelince•of any claim in a separate ablion.-.Teriarit
            waives any rights it may have to redeem the premises from any re-entry and possession
            by Landtpril, Any breeches Of,any covenants of tins tease Shail;beMaterial breaches
                     Landlord to its remedies,iegirdlitiS.Oftheigkentofa#iiiidim     s- z
                                                                                          '
                    21. Waivers. Any waiver, consent or approval on the part of Landlord must
            be in writing,and shall be effective only to the extent specifically sat forth in the writing.
            No delay or omission by Landlord In the exercise of any right or remedy with respect to
            any one occasion shall impair Landlord's ability to exercise the right or remedy in the
            same or on another occasion.
                     22. Notices. All notices or other communications shall be in writing signed
             by  the sender, and shall either be(a)personally delivered or(b)mailed by certified mail,
             at or to the following addresses:
             Landlord:     New Lifestyles,Inc.
                           do Kenneth L. Cuave,President
                           P.O.Box 64
                           Winchester, VA 22604
                          (540)722-4521
                           &Waite' ewlifeitvle.nit


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Case 5:21-cv-00007-TTC-JCH Document 1-1 Filed 01/29/21 Page 86 of 92 Pageid#: 90




               Copy To:      William A. Truban,Ir.
                             Owen and Truban,PLC
                             P.O.Box 267
                             Winchester, VA 22604
                            ( 540),678-0995
                            .btitibaii0oWentrUhaii.ioM).4
                                  - • ••
              Tenant        '.
                            .C40.*,oimg       Adult - Winchester,LLC
                               P.O.am(lino
                            • Lake Ozark, Missouri 65049
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          "Either patty `ititiy      ge'the'adelteat. writte notice teirth0
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          • .(effective %obeliieeekied                           or*lien'deposited in the United.States
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          ' pvigi,g or *Ailed',by'a:Citified:11i310,,or
           (peagrealagsuch'notice bia been   _ received.'
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                                             —
                     23. Return ofPremises.

                             23 1e                   Pemlses At the fOrniiiii
                                                                        —  Mfaii of this 1..A.FO;T4kii4!
              agrees to deliver to tAincilird'the,Premises and all mechanical systems and all eqwpment
              and situres there:in-in goad w.bricing ogler and Condition:
                              • 23.2: Holdover Tenancy. Should Tenant fail to vacate the Premiseiat
              the termination fthis lAase:•Tenant'shall      air-to-J-. rich  day ofthe hiildOver polo either
            (a)twice the then-applicable rent,7oi4):a earfeiiCIhir market:eat'for The,PiPpiii4.,(0a-
            'determined by tatidtord* its ;iite pOgratat);4.11.4P4I:v0110_400 All the terms and'
              provisions ofthis Lease shall t.:6464to,4,01,-y rfeaaiii will be a tenant at will dunog the
              tioidover*tett,7$Pthidg In this section Abell beii;aiiier:41or'igaloila the exercise of
              E4041oirii•rapid*lir miopti                                                       oiciiiof Landlord
              front fulfflLiiig the (emit Of                                   defend,'anctladeaolgi
              from alt direct aitd.tiPastelaii4Litt                                           "          Or •*bleb",
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                                                     theieef,           ""                 •
                                                                              •
                      24. Quiet Enjoyment. Neither Lundlcid int:Landlord's successors or assigns
              will disturb Tenant in its quiet enjoyment Ofthe Premises.
                                                            .                   .
                      25. lInde             ty, Tenant Shift laciiiaalfy;:xlefeack and 404 tiult.iI* Lindlord
              from and.•.agkin:st:c.iiiiy. and.                 piijoispa,pliiii‘oiliabililSt      iniaAiietudia4).
                                              -, arising oUt of.or 7*:,eriY,..NkY OO-
              reasonable, i. itto.-rneirs'•fcis                                      ltogOtid fitO
              occurring on the Pranites-or arising out Ofii!iiiienfteAN:eaalltea during the tetiiCtiftbiS
              Lease. This duty, to indemnify, and defend                                       apt jtialf,e4;IP
            • datha1cs costs, liability, loss and è*pnsc including professional consultant, engineering'
                 attpakey11,Teei inciareil hirespOnding,to fd emI,sthte,ar local10.44.     -. istilet•Pabilliy;or.
              commonla*• teianiAill ensure that its liability uisuran?policy covers Its obligations
             .uider this indemnify agreement.


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                       .•26.,                O'f-SubrOgatiiiii; Landiordiihd Teninteaèh rcsetively;stye*
                rights Of4ponsittryngainSt tice other and thiothoes.ateittai,ertipioycea;perngttcd Maid*
                     AS-Attlee:1; for any loss.or Aniege to Premise,* or injury to or death of persons,, to the
           ' ,,eitOitat ':.tha Seineis Oniiiiied or indemnified bit:Preeeat Ofi,=.1y- inaiiratie,e,p9liey,Which,
              • either ofthe parties hereuiider is required to citry,underjheteirdS'Orthill;asP'(*hither
              •or not'such party is .actuallyrnidntnlning sücb'insurance coveae)t,:01. for which,
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                as the Okra*,.     tt...sjit0:00!ininia-aCi7einninntiew,eipressty:flionctiiin7thia agreement and
                                                                      NW a continuing obligation noti§t„ the ,
           ; .,pthkitariiitiheA;"Weiyera.are'...aot s' tinted...Nothlngin this'section shallimpose any.
              „gr.eaterliabili.6uPOn'the Landlord thanWaidd have xisted inihiabseneeOfthia section.
           '        044specifically recognize                 01;60/ledge that the-waivers contained herein are
                and shall be effective even thintgksn'ehcialiiirtiay arise as a result of the negligence of
                the pasty being reléas&i taitii4i40,40f.fiv:11 pasty's egiete,officers othloccs.,
                                                                                                   •


                           _ ,AtfOiiment Tenant agrees to and 'does atteinjto.J.nny,..ineeeaaor,'to .
              LandtâId'n interest in all or any plot'of the Premises,'inCludini*Montiiiii ion!anY:,
            ,'purchaser at any foreclosuresale ofall orany part ofthe Pretrusea.
                           ;•OtTitit,'Owneribis- 1si this testi and igeeel,igliii-etila4g 11+01oitt4
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                    * the: tiikrii,12,toPorty,tOATetian:
             „lentil*                                                   JeaSe‘.the,'Sone t0;;Landlord.'
            .:FitithWtio*te;if,Tatianeemitoisei anylights,tiOdieSecicrnsl3*(Right.`4`FirstRONal)'40.
             44(Oitifin);:aboye,, ,OWTicr;tigietitn he;hoitrid bythe,teiniii and conditions of this Ipeie
              so as to,CoiiiieY such Property under,such term Onat as if Owner were thelandlord
           '               Owner warrants and represents it is 41,;hed,T00% by Kenneth Cuave
                '• 7-7                                 ,                                        -  _-
                      29. Successors                                               the benefit ofand be
              binding upon the heirs, :eitale,ii,7aecidois, adniint:stiatotr;,1 receivers, custodians,,
              successors and(in the case ofTenant,pertained)assigns-oftherespeethinfarties,"
                    29. Memorandum of Lease. Neither this Lease nor any memorandum or other
              evidence thereofsbaS be filed ofpublic record by either party.




                                                           - 13 -
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                    MENDING to be fully bound,the parties have executed this Lease the day and
             year above written.
             Landlord:                        NEW LIIRE,STELES,INC.

                                              a Virginia prpotaton      _
                                              By;                                    -     •
                                             :_iceOrk     'Ve;;PitaideliC

             Tenant                           CALO YOUNG ADULTS - WpICHESTEE,LLC
                                              a Delaware limited liability company

                                                                                               •




                                                                       •

             Owner
                                              CUAVE FAMILYA4EGITATTES,LLC




                                                  - 14-
            ..2.411973tif
Case 5:21-cv-00007-TTC-JCH Document 1-1 Filed 01/29/21 Page 89 of 92 Pageid#: 93




                                                  Exhibit A

                                      Tax Map Info and Deed For Property




                                                    7 15 -
             24349739v'
             DRAFT 11119/15 3:13 FM
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        Renfo Property Information Form                                                           Ex 4- A1/4
      Property Information
    •
                                          .-
                 Area WIND       Dist                                      Rae S       2,535.01    Map Id 172-01-C- 1
         Description 230 WEST BOSCAWEN STREET

           Address 230W BOSCAWEN ST                                                                    Acres 0.28
         Land Value          180,000                        Zoning fill                            ilea 1 Gas TIT
         Bldg Value          364,700                EsmtI ROW PAVE IPUB!.                     Water /Sewer PURL IPUB!.
     it Total Value          634,700                     Character OPEN                    Deed Ref Ski Pg 040400300
     '     LU Value                                      Land Use COMM                   Sale Price/ Parcels 578,000
        Tax Amount             4,863.77              Occupancy COMM                                Sale Date 1/22/2004
            _




     Owner
        , information
                Name CUAVE FAMILY PROPERTIES LLC
           Address PO BOX 134

                      WINCHESTER,VA 22684



     Building information

         Bldg Sq Ft      6,718                  Stories 2                      Units                    Year Suitt 1891

         Bard So Ft      1,797                 Alr Cond Y                 Garage /0                     Condition GOOD

     Beret Fin SF                          Fireplace                      Carport/II                      Rooms

         Basement PART                            Flue                         Heat FHA                Bedrooms

     1 Foundation BRIK                    RoofType HIP                         Fuel GAS                 Fullbatha

     Walliti.Ex /In BRIK / DRWL            Roof Mall MET!.                    Floor COMB                Halfbaths 4


         The information contained herein Is deemed reliable but NOT GUARANTEED. The official city or
         county records must be checked to verify the accuracy ofthis InfonriWori.
Case 5:21-cv-00007-TTC-JCH Document 1-1 Filed 01/29/21 Page 91 of 92 Pageid#: 95




                                     u40000304                                          000     0(159

                                    TEM DEED,made and dated this Z-1. day ofIsnumy„2004,byand

          i      .."
                             between HOLLYROUSE.LC.,a Wealslimited &bitty company.laminae«
                             called the GOMM and CUAVEFAMILYPROPERTIES,L.L.C.,a Virginia

                            'limited liability company,hereinaftercalled the Grantee.
                                   STINEISSIITIE Ilattfbr md in ennaidentdon ofthe a=ofTenDollars,
                  ..r4
               • ••:::46-
   ,                         and other valuable =udder:dim,the receipt ofwhich Is haeby aelatawitsiged,
   si-:2 441:f
            . _.             the Grantor does hereby gcnnt and convey with General Wawa*and Beath
      g                      COMM dela unto the Grantee,in the simple,thefollowing property:
                                          Allthatcitain lot or parod ofland,lyreg tabefalgsitu*on
                                  theiimemmitcomer oftheintersiction ofileseeiven SIM« and Stewart.
                                  StT. n*C:4-66PAY diVillabett*rinfg;ad*WA*ai230 West.
                               ;Ii6#817411Sin*hallogd an the iamb 14110-stew=Strut,an the
                               •Pit4j6           StiwartStrect4ikthe narth Waitalley ILIA ail**
                               .;bYPo.iftettY nOiroiftino4h0104MttoUrsattookilityde;
                                • AND BRINGthis nameProperty othveYedfro-it    - RolaC Grecte,'Ir.
                               '  tad W.TrielManifelniteBonyMileProper*PittorrohO bydeed:
                               .datedDeciather21,1984,sitfrieVid hithe DlerklMin ofdie arra     -it
                                 Carat CfdtesCI*ay./id-      a*,yiriktiainDesdBook 189,atpagi
                                ;8041figh!.gamsePiiiiic2tiPartnetith101*converted to Holly Rouse.

                                   &thenceis hereby made to the aforesaid instrumentsand the attachments
                             and the rehreneas therein «attained.fortmore particular deacription ofthe

                             WPM haitbY=Med-
                                   This conveys=is made snbjectto all essements,tights ofway and

       assen                 restrictions a:record,ifany,destine the=kiwiproperty.
       aliVOCOCPCit
Case 5:21-cv-00007-TTC-JCH Document 1-1 Filed 01/29/21 Page 92 of 92 Pageid#: 96




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                                                                                          000           0060
                                              HOLLYHOUSE,LC.


                                              BY:                                                                                    ,4
                                                      DUANE WiAtIF.,Citil,Pat,c.tice AdmiSistrater


                         STATE OF'VIRGINIA.
                        • CITY/SOUNTY OF iOrnateiskr- Aro&
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                         and Slide Mk a:). day &Jana%2004,byDUARB VAMPC811,Practise
                         Admin' Immo:afROLLYHOUSE,L.C.
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